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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                DAYTON DIVISION




      STATE OF ARIZONA, et al.

            Plaintiffs,

      v.                                        Case No. 3:21cv00314
                                                The Honorable Michael J. Newman
      JOSEPH R. BIDEN, et al.

            Defendants.



           DEFENDANTS’ COMBINED MOTION TO DISMISS OR,
 IN THE ALTERNATIVE, FOR JUDGMENT ON THE ADMINISTRATIVE RECORD
              AND MEMORANDUM IN SUPPORT THEREOF
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       The Court lacks jurisdiction over the claims in Plaintiffs’ Complaint, which fail to state a

claim in any event. For these and the reasons set out in more detail in the attached memorandum,

Defendants move to dismiss the Complaint. In the alternative, and as also set out in the attached

memorandum, Defendants are entitled to judgment as a matter of law on the basis of the

administrative record, and the Court should enter judgment for Defendants.

Dated: December 27, 2021                     Respectfully submitted,

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Case: 3:21-cv-00314-MJN-PBS Doc #: 29 Filed: 12/27/21 Page: 3 of 66 PAGEID #: 676




                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                DAYTON DIVISION




      STATE OF ARIZONA, et al.

            Plaintiffs,

      v.                                        Case No. 3:21cv00314
                                                The Honorable Michael J. Newman
      JOSEPH R. BIDEN, et al.

            Defendants.



        DEFENDANTS’ MEMORANDUM OF POINTS AND AUTHORITIES
                IN OPPOSITION TO PLAINTIFFS’ MOTION
                    FOR PRELIMINARY INJUNCTION
                                AND
       IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS OR, IN THE
     ALTERNATIVE, FOR JUDGMENT ON THE ADMINISTRATIVE RECORD
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                                            SUMMARY

       Pages 1-13: The Secretary of Homeland Security is responsible for allocating the

Department of Homeland Security’s limited resources in a manner that best protects the nation and

promotes its interests and values. Consistent with that responsibility and with Congress’s charge—

and with the historical practice of Presidential administrations dating back decades—the Secretary

has established enforcement priorities to guide his subordinates in carrying out their duties. See,

e.g., Arizona v. United States, 567 U.S. 387, 396 (2012). Arizona, Montana, and Ohio now seek to

usurp the Secretary’s duty and authority. The relief the States seek would effectively scrap the

Secretary’s prioritization framework and force local DHS officials to devise their own patchwork

prioritization schemes—which months of Departmental experience and data from operating under

the previous guidance indicate could potentially decrease immigration enforcement actions

directed toward the most dangerous individuals. The States’ claims are not subject to judicial

review, meritless, and contrary to the public interest.

       The Plaintiff States challenge the Secretary’s September 2021 Guidance under the

Administrative Procedure Act (APA), asserting that the September Guidance (1) is contrary to two

provisions of the INA, 8 U.S.C. § 1231(a)(1) and § 1226(c), (2) was required to undergo public

notice and comment, (3) is arbitrary and capricious, (4) is “pretextual,” and (5) is inconsistent with

the President’s duty to “take Care that the Laws be faithfully executed.” See Compl. ¶¶ 65-99,

PAGEID 15-21. The Court should deny the States’ motion and grant Defendants’ motion to

dismiss or for judgment on the administrative record for multiple, independent reasons.

       Pages 13-19: The States cannot prevail on the merits. Four legal principles prevent the

Court from reaching the substance of their claims at all. First, the States cannot establish Article

III standing, because they cannot show any injury that is fairly traceable to the September Guidance

or would be redressed by its rescission. The States contend that the Guidance will lead to less

enforcement, which will lead to a larger population of noncitizens in the States, which in turn will

lead to a growing drain on state resources. PI Mem. 28, PAGEID 91. But as a threshold matter, a

litigant “lacks a judicially cognizable interest in the prosecution or nonprosecution of another.”

                                                  1
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Linda R.S. v. Richard D., 410 U.S. 614, 619 (1973); see also Sure-Tan, Inc. v. NLRB, 467 U.S.

883, 897 (1984) (third parties “have no judicially cognizable interest in procuring enforcement of

the immigration laws.”). In any event, this theory of injury impermissibly rests on speculation. See

Clark v. Stone, 998 F.3d 287, 294 (6th Cir. 2021). The States have proffered no evidence

suggesting that the number of noncitizens whose arrest or removal may be deferred under the

September Guidance—and who are, or will be, located in the Plaintiff States—will exceed the

number that may be arrested and/or removed due to the September Guidance’s priority categories.

Nor have the States submitted evidence that those noncitizens whose arrest or removal is deferred

will consume more state resources than those whose arrest or removal is accelerated because of

the Guidance (e.g., those likely to pose a threat to public safety). Further, the States cannot rest a

claim to standing on self-inflicted injuries, such as their decisions to place individuals in supervised

release. See Buchholz v. Meyer Njus Tanick, PA, 946 F.3d 855, 866 (6th Cir. 2020). And even

crediting any one of these theories of injury, the States cannot show how an order setting aside the

September Guidance would redress their injury: under any circumstance the Department will not

be able to pursue all immigration violations and necessarily must prioritize among them. The States

cannot show that the resulting scheme would redress their injuries.

       Pages 19-23: Second, the States’ claims, all under the APA, cannot “clear the hurdle” of 5

U.S.C. § 701(a)(2), which precludes review of certain classes of agency action, including

enforcement decisions. Heckler v. Chaney, 470 U.S. 821, 828 (1985). Enforcement decisions are

largely committed to the Executive because they require a “complicated balancing of a number of

factors which are peculiarly within [the agency’s] expertise” and are generally “unsuitab[le] for

judicial review.” Id. at 831. The States fail to rebut this presumption of unreviewability. Although

two statutory provisions related to immigration enforcement use the word “shall,” the Supreme

Court has long held that the word “shall” does not displace the “deep-rooted nature of law-

enforcement discretion.” Town of Castle Rock v. Gonzales, 545 U.S. 748, 761 (2005). Indeed,

context and precedent confirm that neither provision the States rely on imposes a judicially

enforceable mandate. Far from an abdication, the challenged policy expressly commits to “enforce

                                                   2
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immigration law to the best of our ability” and “does not compel an action to be taken or not taken”

but instead “leaves the exercise of prosecutorial discretion to the judgment of [DHS] personnel.”

       Pages 23-25: Third, the September Guidance does not constitute “final agency action”

within the meaning of the APA, and the States’ five APA claims therefore cannot proceed. An

agency action is not “final” for purposes of the APA if it does not alter legal rights or obligations.

Bennett v. Spear, 520 U.S. 154, 178 (1997). The Guidance does not alter any individual or entity’s

legal rights or obligations. Noncitizens subject to removal under § 1231(a)(1) or to detention under

§ 1226(c) remain so after the September Guidance; their immigration status is not changed. Even

if the September Guidance affects later agency action, agency action is not final when, as it here,

its effect on legal rights is “contingen[t] on future administrative action.” Jama v. DHS, 760 F.3d

490, 496 (6th Cir. 2014). Nor, even if they were substantiated, would the States’ theories of injury

support a conclusion that the September Guidance alters their legal rights; such harms “are not

legal consequences if they stem from independent actions taken by third parties.” Parsons v. U.S.

Dep’t of Just., 878 F.3d 162, 168 (6th Cir. 2017). Neither does the September Guidance alter DHS

employees’ legal obligations. Subordinate agency employees are required to follow the directives

of their supervisors; that those directives may change from time to time does not change the

employees’ legal rights. Regardless, the September Guidance leaves enforcement decisions to

officers’ discretion and expressly does not compel or prohibit any enforcement action.

       Pages 25-30: Fourth, the structure of the INA, as well as specific provisions within it,

preclude judicial review in this context. Under 5 U.S.C. § 701(a)(1), a statutory scheme that

provides for judicial review to certain types of plaintiffs under certain conditions implicitly

precludes review at the behest of other types of plaintiffs. See Block v. Community Nutrition Inst.,

467 U.S. 340, 345 (1984). The INA is replete with provisions narrowly circumscribing judicial

review to specific circumstances; § 1252(b)(9), for example, is an “unmistakable zipper clause”

that means “no judicial review in deportation cases unless this section provides judicial review.”

Reno v. American-Arab Anti-Discrimination Comm. (“AADC”), 525 U.S. 471, 482-83 (1999). This

reticulated review scheme precludes review here. Moreover, § 1226(e) expressly precludes review

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over discretionary determinations under § 1226, such as the decisions implicated by the September

Guidance, and § 1231(h) is explicit that § 1231 cannot be enforced by “any party.”

       Pages 30-34: Next, even if the States could overcome these four, independent threshold

bars to their claims, they would fail at the merits. First, the September Guidance is not contrary to

either § 1231(a)(1) or § 1226(c). As explained, neither of those statutes creates a judicially

enforceable mandate that displaces the Executive’s longstanding and deep-rooted discretion in

enforcement matters. See Castle Rock, 545 U.S. at 761. Judicial opinions that describe the statutes

in mandatory terms arise in contexts far removed from this, and none grapples with doctrines of

enforcement discretion or the specific aspects of immigration enforcement that demand still greater

discretion. See, e.g., AADC, 525 U.S. at 483; Arizona, 567 U.S. at 396; Jama v. ICE, 543 U.S. 335,

348 (2005). In any event, even if those statutes did create a mandatory duty, the September

Guidance would not violate it, as nothing in the guidance prohibits removal within the 90-day

period or precludes detention of noncitizens covered by § 1226(c). And nothing in either § 1231

or § 1226 precludes the Secretary from adopting and implementing national enforcement

guidelines; indeed, Congress separately directed him to do so. See 6 U.S.C. § 202(5).

       Pages 34-39: Second, the September Guidance easily satisfies the deferential standard of

arbitrary and capricious review. Resource limitations preclude complete enforcement, and the

Secretary reasonably prioritized for enforcement those who pose a threat to national security,

public safety, or border security. Under the Guidance’s flexible approach, line officers must

exercise their judgment in light of all the circumstances, while more senior officers with a broader

view of enforcement assess trends to ensure quality and consistency. The policy is amply supported

by consideration of numerous factors after months of study. The States purport to identify a number

of factors the Secretary failed to consider, but the administrative record demonstrates that the

Secretary considered each factor—and refutes the States’ claim that the Guidance is “pretextual.”

It is irrelevant that the States might have weighed these factors differently or adopted a different

policy. The Secretary’s policy choice survives arbitrary and capricious review so long as it is

rational and based on a consideration of the relevant factors.

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       Pages 39-42: Third, internal-facing policies like the Guidance do not require notice and

comment. That requirement does not apply to “general statements of policy,” 5 U.S.C.

§ 553(b)(A), which are actions that, like the September Guidance, “advise the public prospectively

of the manner in which the agency proposes to exercise a discretionary power,” Lincoln, 508 U.S.

at 197. The Guidance does not adopt any categorical rules and leaves line officers to make case-

by-case decisions based on all the facts. To the extent that the Guidance changes internal agency

procedures, it is still exempt from notice-and-comment requirements because it is, in that respect,

a procedural rule “primarily directed toward improving the efficient and effective operations of an

agency.” Batterton v. Marshall, 648 F.2d 694, 702 n. 34 (D.C. Cir. 1980).

       Pages 42-43: Fourth, the States’ Take Care claim fails as a matter of law. “[T]he duty of

the President in the exercise of the power to see that the laws are faithfully executed” “is purely

executive and political,” and not subject to judicial direction. Mississippi v. Johnson, 71 U.S. (4

Wall.) 475, 499 (1866). The States’ claim collapses into their claim that the Guidance exceeds

statutory authority and thus is flatly negated by the Supreme Court’s admonishment in Dalton v.

Specter that “claims simply alleging that the President has exceeded his statutory authority are not

‘constitutional’ claims.” 511 U.S. 462, 473 (1994).

       Pages 43-47: Finally, the equities weigh against any injunction. Enjoining the September

Guidance would severely encroach on a core Executive function, see AADC, 525 U.S. at 489, and

would result in inefficient and ineffective enforcement, cf. Landon v. Plasencia, 459 U.S. 21, 34

(1982). An injunction would also harm the public. Experience with the interim priorities showed

that prioritizing public safety led to increased enforcement against aggravated felons. The public

interest is not served by forcing the Department to abandon a policy that prioritizes the arrest and

removal of dangerous noncitizens. Weighed against these substantial constitutional and practical

harms is only an unquantified but at most small fiscal harm to the States. Such harm, even if

substantiated, does not warrant an injunction. In any event, any relief ordered by the Court should

be tailored to redress only the harms that are substantiated, and should in no event be nationwide

in scope. See Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 165–66 (2010).

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                                          INTRODUCTION

       In early 2021, at the start of the new Administration, the Department of Homeland Security

(“DHS”) and U.S. Immigration and Customs Enforcement (“ICE”) adopted interim immigration

enforcement priorities to focus their limited enforcement resources on those noncitizens who posed

the greatest threats to national security, to border security, and to public safety. These interim

priorities remained in effect while the Department reviewed its policies and practices, including

performance under the interim priorities, in service of developing a revised immigration

enforcement priority system. After conducting listening sessions with dozens of groups, reviewing

enforcement data and historical and litigation materials, and carefully considering the issue, the

Secretary of Homeland Security issued a new “memorandum [that] provides guidance for the

apprehension and removal of noncitizens.” See Guidelines for the Enforcement of Civil

Immigration Law at 1 (Sept. 30, 2021) (“September Guidance”), ECF No. 4-1, PAGEID 98. The

September Guidance retains the three priorities of national security, border security, and public

safety, but gives greater discretion to line officers to assess “the individual and the totality of the

facts and circumstances,” including aggravating and mitigating factors, in determining whether an

individual “poses a current threat to public safety.” Id. at 3, PAGEID 100. Further, unlike the

interim enforcement priorities, the September Guidance contains no supervisory pre-approval

requirement for officers to take certain enforcement actions. Id. at 5-6, PAGEID 102-103.

       The States of Arizona and Montana previously brought suit in the District of Arizona,

arguing that DHS’s interim enforcement priorities conflicted with two statutory provisions that, in

their view, unconditionally require the arrest, detention, and removal of entire classes of

noncitizens. The District Court for the District of Arizona denied the States’ motion for preliminary

injunction and granted Defendants’ motion to dismiss, concluding that the Secretary’s

prioritization of immigration enforcement actions was committed to his discretion and not subject

to a challenge under the Administrative Procedure Act (APA). See Arizona v. DHS, No. CV-21-

00186, 2021 WL 2787930, at *10 (D. Ariz. June 30, 2021). Arizona and Montana’s appeal is

currently pending in the Ninth Circuit.

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          Arizona and Montana, now joined by Ohio, again sue to enjoin the Secretary’s enforcement

priorities. At bottom, the States ask this Court to issue an injunction based on an extraordinary

interpretation of two provisions of the Immigration and Nationality Act (“INA”)—8 U.S.C.

§§ 1226(c) and 1231(a)—which would mean that every administration has violated those

provisions since their enactment in 1996. They revive essentially the same arguments already

rejected by the Arizona court, and those arguments fail here for the same reasons, as well as other

reasons not reached by the Arizona court. First, the States cannot establish an Article III injury

(much less irreparable harm) fairly traceable to the September Guidance or that would be redressed

by the relief they seek. Second, three threshold barriers to any action under the APA each

independently bars their claims. Third, the States’ arguments fail on the merits. Fourth, the States’

speculative fiscal injury, even if demonstrated, does not warrant an order setting aside the

Secretary’s guidance to his subordinates intended to promote public safety and national interests.

The Court should deny the States’ motion for a preliminary injunction and dismiss their Complaint.

                                              BACKGROUND
I.      Statutory Framework
          The INA establishes the framework for arresting, detaining, and removing noncitizens who

are unlawfully present in or otherwise removable from the United States. A “principal feature of

the removal system is the broad discretion exercised by immigration officials.” Arizona v. United

States, 567 U.S. 387, 396 (2012).1

          The removal process typically begins when DHS, in its discretion, initiates a removal

proceeding against a noncitizen. See 8 U.S.C. § 1229(a); 8 C.F.R. § 239.1; see also, e.g., 8 U.S.C.

§§ 1225(b)(1), 1228(b), 1187(b)(2), 1231(a)(5); 8 C.F.R. § 1208.31(e) (setting out “expedited”

proceedings for certain cases). DHS has discretion both to initiate proceedings and to choose which

charges of removability to pursue, see 8 U.S.C. § 1229a(a)(2), and an immigration judge ultimately

determines whether the noncitizen is removable on those grounds, and if so, whether to enter an


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    Internal quotation marks and citations are omitted throughout this brief, unless otherwise indicated.

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order of removal, see 8 U.S.C. § 1229a(a); 8 C.F.R. § 1240.12. A noncitizen subject to such a

removal order may file an appeal before the Board of Immigration Appeals (“BIA”), 8 C.F.R.

§§ 1003.1(b), 1240.15, and the removal order is stayed pending the appeal, 8 C.F.R. § 1003.6(a).

If the BIA dismisses the appeal, the noncitizen may then petition for review in a federal court of

appeals and request a further stay of removal pending review. 8 U.S.C. § 1252(a)(5). Once an order

of removal is final, see id. § 1101(a)(47)(B), and absent a stay, the noncitizen is subject to removal,

see id. §§ 1231(a)(1)(A), (a)(1)(B)(ii). “At each stage” of this removal process, “the Executive has

discretion to abandon the endeavor.” Reno v. American-Arab Anti-Discrimination Comm.

(“AADC”), 525 U.S. 471, 483 (1999).

       This case concerns 8 U.S.C. §§ 1226 and 1231. As multiple courts have recently held, these

statutes “do not eliminate immigration officials’ ‘broad discretion’ to decide who should face

enforcement action in the first place.” Texas v. United States, 14 F.4th 332, 337 (5th Cir. 2021)

(quoting Arizona, 567 U.S. at 396), vacated en banc (5th Cir. Nov. 30, 2021). Rather, they “address

a separate question: the custodial status of individuals who are facing removal proceedings [i.e.,

§ 1226] or who have been [ordered] removed [i.e., § 1231].” Id; see also Arizona v. DHS, 21-cv-

186, 2021 WL 2787930, at *10 (D. Ariz. June 30, 2021); Florida v. United States, No. 8:21-CV-

541-CEH-SPF, 2021 WL 1985058, at *9 (M.D. Fla. May 18, 2021), vacated as moot (11th Cir.

Dec. 14, 2021).

       Section 1226 sets forth the framework for “arresting and detaining” noncitizens present in

the United States once removal proceedings have commenced. Jennings v. Rodriguez, 138 S. Ct.

830, 837 (2018). Section 1226 “distinguishes between two different categories of aliens.” Id.

Section 1226(a) applies generally to all removable noncitizens and allows the government “to issue

warrants for their arrest and detention pending removal proceedings.” Id. at 846. Section 1226(c)

specifically covers noncitizens “who fall[] into one of [several] enumerated categories involving




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criminal offenses and terrorist activities,” id., and notes that DHS “shall take” these noncitizens

“into custody . . . when [they are] released” from criminal confinement. 8 U.S.C. § 1226(c)(1).2

       Once a removal order becomes final, § 1231(a) sets out DHS’s detention authority within

and beyond a “removal period.” 8 U.S.C. § 1231(a). Section 1231 sets the “removal period” of 90

days that begins when the removal order becomes “administratively final,” judicial review staying

the removal concludes, or the noncitizen “is released from [criminal or non-immigration] detention

or confinement,” whichever comes latest. Id. § 1231(a)(1)(B)(i)-(iii). Section 1231(a)(2)

authorizes detention during the removal period and mandates it for noncitizens removable on

certain criminal and terrorism-related grounds. Id. § 1231(a)(2). Congress, however, “doubt[ed]”

that “all reasonably foreseeable removals could be accomplished” within the 90-day period,

Zadvydas v. Davis, 533 U.S. 678, 701 (2001), and so § 1231 permits—but does not require—

detention and removal after the expiration of the removal period. Id.; see 8 U.S.C. § 1231(a)(1)(C),

(a)(6); cf. Zadvyadas, 533 U.S. at 682 (“Based on our conclusion that indefinite detention of aliens

in the former category would raise serious constitutional concerns, we construe the statute to

contain an implicit ‘reasonable time’ limitation, the application of which is subject to federal-court

review.”). Generally, beyond the removal period, noncitizens with final orders of removal may be

released on an order of supervision. 8 U.S.C. § 1231(a)(3).

       To take custody of removable noncitizens, DHS may use a number of enforcement tools,

including immigration detainer requests. Through a detainer, DHS notifies a State or locality that

DHS intends to take custody of a removable noncitizen detained by the State or locality upon his

or her release, and asks the State or locality to (1) notify DHS of the noncitizen’s release date; and

(2) hold the noncitizen for up to 48 hours, until DHS can take custody. See 8 C.F.R. §§ 287.7(a)

(describing notification of release), 287.7(d) (describing temporary detention request); ICE Policy



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  This provision also states that DHS “may release [these] alien[s]” in circumstances not relevant here.
8 U.S.C. § 1226(c)(2). The States are not claiming that noncitizens apprehended under § 1226(c) would be
released due to DHS’s September Guidance, which does not even address detention, and so § 1226(c)(2) is
not implicated in this case.

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No. 10074.2: Issuance of Immigration Detainers by ICE Immigration Officers ¶ 2.7, available at

https://www.ice.gov/sites/default/files/documents/Document/2017/10074-2.pdf (last visited Dec.

27, 2021) (“ICE Policy No. 10074.2”). Since April 2, 2017, ICE detainers are accompanied by a

signed administrative warrant of arrest issued under 8 U.S.C. §§ 1226 or 1231(a), and may be

issued only as to noncitizens arrested for criminal offenses and whom immigration officers have

probable cause to believe are removable. See ICE Policy No. 10074.2 ¶¶ 2.4-2.6. The 2017 policy

further provides that should ICE officers determine not to take custody of a noncitizen, the officers

must immediately rescind the detainer. Id. ¶ 2.8.
II.   Interim Guidance on Immigration Enforcement
       DHS and its predecessor agencies have never had sufficient resources to pursue every

immigration violator. Thus, for decades, DHS and its predecessors have issued guidance to focus

the use of its limited resources according to agency policy and priorities. See, e.g., Legal Op. of

Sam Bernsen (July 15, 1976), ECF No. 27-3, PAGEID 464 (AR DHSP_00000022); Meissner

Memo. (Nov. 17, 2000), ECF No. 27-4, PAGEID 472 (AR DHSP_00000030); Morton Memo

(June 30, 2010), ECF No. 27-5, PAGEID 485 (AR DHSP_00000043). And when Congress

established the Department of Homeland Security, it specifically authorized the Secretary of

Homeland Security to develop “national immigration enforcement policies and priorities.” 6

U.S.C. § 202(5).

       On January 20, 2021, then-Acting Secretary of Homeland Security David Pekoske

exercised his discretion and authority to refocus DHS’s efforts to a narrower set of priorities than

under the previous administration. See Memorandum from David Pekoske, Acting Sec’y of

Homeland Sec., Review of and Interim Revision to Civil Immigration Enforcement and Removal

Policies and Priorities (Jan. 20, 2021) (“Pekoske Memo”), ECF No. 27-9, PAGEID 507 (AR

DHSP_00000065). The Pekoske Memo made note of DHS’s inherent resource limitations and the

“significant operational challenges” it faces due to the COVID-19 pandemic, and, in light of these

considerations, called upon DHS “components to conduct a review of policies and practices

concerning immigration enforcement.” Id. at 1. Consistent with longstanding historical practice,

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Acting Secretary Pekoske instructed DHS components to develop recommendations concerning,

among other things, “policies for prioritizing the use of enforcement personnel, detention space,

and removal assets” and “policies governing the exercise of prosecutorial discretion.” Id. at 2,

PAGEID 508.

       The Pekoske Memo also adopted two interim measures. First, the Pekoske Memo directed

DHS to focus its enforcement efforts on individuals implicating (1) national security, (2) border

security, or (3) public safety. Id. At the same time, it expressly authorized enforcement activities

outside of those categories. Id. at 3, PAGEID 509. Second, the Pekoske Memo paused most

removals for 100 days while DHS reviewed its policies. Id. The District Court for the Southern

District of Texas preliminarily enjoined this second measure, and it has since expired on its own

terms, thus mooting those claims. Texas v. United States, 21-cv-0003, ECF No. 93 (S.D. Tex. May

20, 2021) (stipulated dismissal).

       On February 18, 2021, ICE issued a memorandum to operationalize the enforcement

priorities in the Pekoske Memo. See Memorandum from Tae Johnson, Acting Dir. of U.S.

Immigration and Customs Enf’t, Interim Guidance: Civil Immigration Enforcement and Removal

Priorities (Feb. 18, 2021) (the “ICE Interim Guidance”), ECF No. 27-10, PAGEID 512 (AR

DHSP_00000070). The ICE Interim Guidance confirmed that “ICE operates in an environment of

limited resources” and “necessarily must prioritize” certain “enforcement and removal actions over

others” in order to “most effectively achieve” its “critical national security, border security, and

public safety mission.” Id. at 2-3, PAGEID 513-514. The ICE Interim Guidance then catalogued

the three priority groups identified in the Pekoske Memo, as slightly modified, and reiterated that

the interim priorities do not “prohibit the arrest, detention, or removal of any noncitizen.” Id. at 3,

PAGEID 514. Enforcement actions outside the presumed priorities could proceed when warranted

by the circumstances, and generally subject to approval of the Field Office Director.

       While the Pekoske Memo and the ICE Interim Guidance (collectively “the Interim

Guidance”) were in effect, DHS was able to shift resources to both focus on those posing greater

public safety threats and other important agency missions, such as border security. For example,

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“[b]etween February 18 and August 31, 2021, ICE arrested 6,046 individuals with aggravated

felony convictions compared to just 3,575 in the same period in 2020.” See Memorandum

Regarding Conclusions Drawn from “AART” Data (Sept. 24, 2021) (“AART Data Memo”), ECF

No. 27-15, PAGEID 537 (AR DHSP_00000108). Likewise, “field offices became more liberal in

authorizing [other priority] cases”—“sexual assault and other sex offenses; DUIs; and assault,

particularly domestic violence”—“as time [went] by.” Id. In fact, Field Office Directors approved

over 90% of “other priority” cases, with “requests to pursue an action against a noncitizen with a

conviction for a sex offense [] approved at a rate greater than 99%.” Id. at 3, PAGEID 539. At the

same time, ICE “surged personnel to support southwest border operations.” Id. at 2, PAGEID 538;

see also Declaration of Peter B. Berg ¶ 18 (“Berg Decl.”), ECF No. 27-31, PAGEID 600 (AR

DHSP_00006035) (identifying approximately 300 ICE officers “detailed to the Southwest Border

to support CBP operations.”). The Interim Guidance was rescinded on November 29, 2021, when

the September Guidance (discussed below) became effective.

       Four lawsuits were brought to challenge the Interim Guidance. In the District of Arizona,

the States of Arizona and Montana challenged both the 100-day pause on removals and ICE’s

interim prioritization guidance. See Compl., Arizona v. DHS, 21-cv-186, ECF No. 1 (D. Ariz. Feb.

3, 2021); Am. Compl., Arizona, 21-cv-186, ECF No. 12 (D. Ariz. Mar. 8, 2021). On June 30, 2021,

an Arizona district court granted Defendants’ motion to dismiss Arizona and Montana’s suit and

denied their motion for preliminary injunction, finding that immigration enforcement priorities are

committed to agency discretion and, therefore, not subject to judicial review. See Arizona, 2021

WL 27872930, at *10 (“While [the States] may not agree with this prioritization scheme, the

States’ allegations in their Amended Complaint do not ‘rise to a level that would indicate’ that the

Government is abdicating its responsibility to remove noncitizens with final orders of removal

from the United States.”). The Ninth Circuit has twice denied Arizona’s and Montana’s motions

for an injunction pending appeal; the appeal, and Defendants’ motion to dismiss the appeal as

moot, remain pending. See Arizona v. United States, Case No. 21-16118 (9th Cir. July 30, 2021,

and Sept. 3, 2021).

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        The State of Florida also sued unsuccessfully to enjoin the Interim Guidance. A Florida

district court denied Florida’s motion for preliminary injunction, holding that the Interim Guidance

is not final agency action and, in any event, is committed to agency discretion. See Florida, 2021

WL 1985058, at *9. Florida voluntarily dismissed its appeal when the September Guidance

became effective. Florida v. United States, No. 21-11715 (Dec. 14, 2021) (dismissing appeal).

Texas and Louisiana sued in a district court in Texas, similarly seeking to enjoin the Interim

Guidance. After the district court initially granted the preliminary injunction, Texas v. United

States, No. 6:21-cv-00016, 2021 WL 3683913 (S.D. Tex. Aug. 19, 2021), the Fifth Circuit largely

stayed that injunction pending appeal in a unanimous published decision. Texas, 14 F.4th at 332.

After the Interim Guidance was rescinded by the September Guidance, the en banc Fifth Circuit

vacated the stay, Texas, No. 21-40618 (Nov. 30, 2021), and Defendants filed a consent motion to

dismiss the appeal as moot, Texas, No, 21-40618 (Dec. 6, 2021). Finally, several Texas sheriffs

and counties, as well as a federation claiming ICE officers as members, filed a separate suit in a

Texas district court to enjoin the Interim Guidance. Coe v. Biden, No. 3:21-cv-168 (S.D. Tex. filed

July 1, 2021). That motion remains pending, and Defendants have filed a motion to dismiss the

action.3
III. The Secretary’s September Guidance
        On September 30, 2021, the Secretary issued the memorandum at issue here, “Guidelines

for the Enforcement of Civil Immigration Law.” See September Guidance, PAGEID 98. The

seven-part “memorandum provides guidance for the apprehension and removal of noncitizens.”

Id. at 1. The first part explains the foundational principle of the exercise of prosecutorial discretion.

See, e.g., id. at 2, PAGEID 99 (underscoring how it is “well established in the law that federal

government officials have broad discretion to decide who should be subject to arrest, detainers,

removal proceedings, and the execution of removal orders”). The next part provides the substantive

provisions prioritizing national security, public safety, and border security. Id. at 3-4, PAGEID


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 Texas and Louisiana, as well as the Texas counties and sheriffs, now challenge the September Guidance
as well. No decision has issued in either case.

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100-101. The third part seeks to ensure that DHS exercises its “discretionary authority in a way

that protects civil rights and civil liberties.” Id. at 5, PAGEID 102. Fourth, the September Guidance

guards against the “use of immigration enforcement as a tool of retaliation.” Id. Fifth, through

training, data collection, and quality review mechanisms, DHS seeks to ensure that line officers

apply the September Guidance with integrity and quality while leaving “the exercise of

prosecutorial discretion to [the line officers’] judgment.” Id. at 5-6, PAGEID 102-103. Sixth, the

September Guidance set November 29, 2021, as the effective date, which also served to rescind

the Pekoske Memo and the ICE Interim Guidance. Id. at 6-7, PAGEID 103-104. And, last, the

September Guidance contains a statement that it confers no “right or benefit.” Id. at 7, PAGEID

104.

       For the substantive provisions in Part II, the September Guidance maintains the three

categories from the Interim Guidance—national security, public safety, and border security—but

the September Guidance functions in a distinctively different manner. See id. at 3-4, PAGEID 100-

101. Rather than creating presumed priority categories or assigning the Field Office Director

responsibility to pre-approve certain enforcement actions, as the Interim Guidance did, the

September Guidance largely avoids “bright lines or categories” and instead “requires an

assessment of the individual and totality of the facts and circumstance.” Id. at 3, PAGEID 100.

With this as the backdrop, the September Guidance then includes a non-exclusive list of

aggravating factors (e.g., “the gravity of the conviction and sentence imposed” or “the

sophistication of the criminal offense”) and mitigating factors (e.g., “military service” or “time

since an offense and evidence of rehabilitation”). Id. Leaving discretion primarily to line officers,

the September Guidance emphasizes that “[t]he overriding question is whether the noncitizen

poses a current threat to public safety.” Id. at 4, PAGEID 101. Likewise, for border security, the

September Guidance underscores that “[DHS] personnel should evaluate the totality of the facts

and circumstances and exercise their judgment accordingly.” Id.

       In developing the September Guidance, the Secretary and DHS received input from a wide

range of individuals and groups. See Administrative Record Index, ECF No. 27-1, at PAGEID

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436. In particular, the “Department officials engaged in multiple discussions with leadership from

ICE, USCIS, and CBP, as well as ICE personnel in the multiple field locations;” and “with external

stakeholders, including law enforcement groups, state and local government representatives, and

non-governmental entities, including immigrant advocacy organizations.” See Significant

Considerations in Developing Updated Guidelines for the Enforcement of Civil Immigration Law,

at 10 (“Considerations Memo”), ECF No. 27-2, PAGEID 443 (AR DHSP_00000001).4 “These

conversations helped the Department evaluate its interim immigration enforcement and removal

priorities and properly understand and consider the various interests of both internal and external

stakeholders, thereby ensuring that the Department’s development of new priorities was informed

by all of the relevant evidence and interests.” See id. The Secretary also considered the views of

numerous members of Congress,5 state and local officials,6 and the issues raised by numerous
entities—including Arizona and Montana—in litigation over the Interim Priorities.7




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  The administrative record documents additional details on these outreach meetings. See Memorandum
regarding Stakeholder Outreach in Furtherance of Department Civil Immigration Enforcement Guidance
(Sept. 17, 2021), ECF No. 27-11, PAGEID 519 (AR DHSP_00000090) (identifying approximately 30
groups, including the National Sheriffs’ Association and the Southwest Border Sheriffs’ Coalition, and
noting the Secretary’s personal engagement with ICE personnel; ICE Field Office Directors, Special Agents
in Charge, and Assistant Directors; members of the academic community; immigrant advocacy
organizations; and domestic violence advocates and specialists); Memorandum from Cammilla Wamsley,
Principal Policy Advisor, Listening Sessions for Final Priorities, ECF No. 27-12, PAGEID 524 (AR
DHSP_00000095) (Field Office Directors and Special Agents in Charge); Memorandum regarding DHS
Enforcement Priorities Stakeholder Outreach April 6-9, 2021, ECF No. 27-13, PAGEID 526 (AR
DHSP_00000097) (Local Government and Law Enforcement Groups); Memorandum regarding DHS
Enforcement Priorities Stakeholder Outreach April 14-May 20, 2021, ECF No. 27-14, PAGEID 531 (AR
DHSP_00000102) (Governmental and Non-Governmental Organizations).
5
  See, e.g., July 6, 2021 Ltr. From U.S. Rep. Andy Biggs, ECF No. 27-20, PAGEID 551 (AR
DHSP_00002261); May 14, 2021 Ltr. From U.S. Rep. Alexandria Ocasio-Cortez, ECF No. 27-26,
PAGEID 531 (AR DHSP_00002290).
6
  E.g., May 28, 2021 Ltr. from Ill. Att’y Gen. Kwame Raoul, ECF No. 27-19, PAGEID 548 (AR
DHSP_00002258); Aug. 26, 2021 Ltr. from Fla. Gov. Ron DeSantis, ECF No. 27-21, PAGEID 554 (AR
DHSP_00002270); Feb. 3, 2021 Ltr. from Collier Cnty., Fla. Sheriff Kevin J. Rambosk, ECF No. 27-25,
PAGEID 565 (AR DHSP_00002281).
7
  See AR Index, ECF No. 27-1 at PAGEID 439-442, item nos. 64-120 (listing litigation documents,
including briefs and declarations filed by states and other plaintiffs, that were considered in developing
the September Guidance).

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       Further, DHS summarized the key aspects informing the Secretary’s guidance. See id.

Besides emphasizing the various inputs the Secretary and the Department received from “internal

and external stakeholders,” the experiences in “the implementation of the” Interim Guidance, and

“the Secretary’s own experience” including his 12 years as a federal prosecutor, and over 7 years in
senior roles at the Department of Homeland Security, DHS also addressed other key “considerations

informing the guidelines.” Id. at 2, PAGEID 444. In doing so, DHS explained the role of

prosecutorial and enforcement discretion in the immigration context (including its history and

resource limitations necessitating enforcement discretion), id. at 2-8, PAGEID 444-450; the

current Administration’s approach to immigration-enforcement priorities (including the Interim

Guidance, the litigation challenging that guidance, and the listening sessions both to evaluate that

Interim Guidance and to develop the September Guidance), id. at 8-11, PAGEID 450-453; and the

key considerations underscoring the September Guidance (including public safety, deconfliction,

impact on states, resources, statutory mandates, and alternative approaches), id. at 11-21, PAGEID

453-463.
IV. Procedural Background
       On November 18, 2021, Arizona and Montana, along with Ohio, filed a Complaint in this

Court challenging the September Guidance under the Administrative Procedure Act. See Compl.

The States moved for a preliminary injunction on November 23, 2021. See ECF No. 4, PAGEID
55.8 In their preliminary injunction motion, the States pursue three claims: (1) a claim that the

September Guidance is contrary to law, specifically 8 U.S.C. § 1226(c) and 8 U.S.C. § 1231(a)(1);

(2) an arbitrary and capricious claim; and (3) a notice-and-comment claim. See id. The States’

Complaint includes two additional claims: (4) the September Guidance is “pretextual” and

therefore invalid; and (5) the September Guidance violates the Take Care clause and is therefore

“contrary to constitutional . . . power.” Defendants file this brief in opposition to the States’ motion


8
 On December 6, 2021, this Court denied Defendants’ motion to transfer this action to the District of
Arizona, see ECF No. 17, PAGEID 398.


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for preliminary injunction and in support of Defendants’ motion to dismiss or, in the alternative,

for judgment on the administrative record.9

                                      LEGAL STANDARDS

       “Four factors determine when a court should grant a preliminary injunction: (1) whether

the party moving for the injunction is facing immediate, irreparable harm, (2) the likelihood that

the movant will succeed on the merits, (3) the balance of the equities, and (4) the public interest.”

D.T. v. Sumner Cnty. Sch., 942 F.3d 324, 326 (6th Cir. 2019). “In order to establish a likelihood

of success on the merits of a claim, a plaintiff must show more than a mere possibility of

success.” Anderson v. Kelley, 12 F.3d 211 (6th Cir. 1993). “But even the strongest showing” on

the merits cannot “eliminate the irreparable harm requirement,” which “is indispensable.” D.T.,

942 F.3d at 326–27 (quoting Friendship Materials, Inc. v. Mich. Brick, Inc., 679 F.2d 100 (6th

Cir. 1982)).

       A motion to dismiss under Rule 12(b)(1) tests the Court’s jurisdiction to hear the action.

The plaintiff, as the party invoking the Court’s jurisdiction, bears the burden of proving it. Glob.

Tech., Inc. v. Yubei (XinXiang) Power Steering Sys. Co., 807 F.3d 806, 810 (6th Cir. 2015). A

motion under Rule 12(b)(1) may be either facial—where the complaint itself, taking well-plead

factual allegations as true, fails to plead jurisdictional facts—or factual—where jurisdiction turns

on a disputed fact that the Court must resolve. See id. On the latter type of motion, the Court “is

not bound to accept as true the allegations of the complaint as to jurisdiction,” Carnick v. United

States, No. 07-12802, 2008 WL 785290, at *1 (E.D. Mich. Mar. 24, 2008). Instead, the Court must

“weigh the evidence and satisfy itself as to the existence of its power to hear the case.” United

States v. Ritchie, 15 F.3d 592, 598 (6th Cir. 1994). Defendants make both a facial attack, as to the

jurisdictional elements of the APA, and also a factual attack, challenging the sufficiency of

Plaintiffs’ evidence, presented with their motion for preliminary injunction, to establish standing.


9
 Defendants served the administrative record on the States on December 7, 2021, see Notice, ECF No. 21
at PAGEID 416, and have filed excerpts thereof in advance of this brief, see Administrative Record, ECF
No. 27.

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          A motion under 12(b)(6) challenges the legal sufficiency of the complaint. In evaluating

the motion, a court assumes “the veracity of [the plaintiff’s] well-pleaded factual allegations and

determine[s] whether the plaintiff is entitled to legal relief as a matter of law.” McCormick v.

Miami Univ., 693 F.3d 654, 658 (6th Cir. 2012) (citing Ashcroft v. Iqbal, 556 U.S. 662, 679

(2009)). But although “the court primarily considers the allegations in the complaint, . . . matters

of public record, orders, items appearing in the record of the case, and exhibits attached to the

complaint, also may be taken into account.” Amini v. Oberlin Coll., 259 F.3d 493, 502 (6th Cir.

2001)).

          Finally, “[w]hen reviewing agency action” on the merits, “the district court sits as an

appellate tribunal, and the question before it is a question of law, and only a question of law.”

Tiger Lily, LLC v. United States Dep’t of Hous. & Urb. Dev., 525 F. Supp. 3d 850, 856–57 (W.D.

Tenn. 2021), aff’d, 5 F.4th 666 (6th Cir. 2021). “The task of the reviewing court is to apply the

appropriate APA standard of review, to the agency decision based on the record the agency

presents to the reviewing court.” Little Traverse Lake Prop. Owners Ass’n v. Nat’l Park Serv., 883

F.3d 644, 657 (6th Cir. 2018) (emphasis in original). Review under the APA is highly deferential

to the agency’s considered judgment. See FCC v. Prometheus Radio Project, 141 S. Ct. 1150,

1158 (2021). “An agency decision is arbitrary and capricious if the agency fails to examine relevant

evidence or articulate a satisfactory explanation for the decision.” Bangura v. Hansen, 434 F.3d

487, 502 (6th Cir. 2006).

                                           ARGUMENT

          The Court should deny the States’ motion for a preliminary injunction and should dismiss

the Complaint and enter judgment for Defendants because the States cannot prevail on the merits.

First, the States lack standing, because they have not substantiated an injury that is fairly traceable

to the September Guidance or redressable by an order setting it aside. Second, their challenges,

which are all brought under the APA, fail at three thresholds to such claims: the establishment of

enforcement priorities is committed to agency discretion by law; the September Guidance is not

“final agency action” within the meaning of the APA; and the structure and provisions of the INA

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preclude review. And if the Court does reach the merits, it should enter judgment for Defendants.

The September Guidance does not violate any provision of the INA; the Secretary considered the

relevant factors and acted reasonably on the information before him; notice and comment is not

necessary for general statements of policy or internal procedural rules; and the States’ Take Care

claim fails as a matter of law.

       To the extent the Court concludes that the States are likely to prevail—contrary to Supreme

Court precedent and decades of historical practice—it still should neither enter a preliminary

injunction nor vacate the September Guidance. The harm to the Executive and to the public from

such an action would vastly outweigh any minor fiscal harm to the States. Indeed, any relief to the

States at final judgment would be limited to remand without vacatur. In any event, were the Court

to grant an injunction, it should limit such injunction to those States the Court concludes have

demonstrated standing. The Court should deny the States’ motion and dismiss the Complaint.
I.   The States Cannot Succeed On The Merits.
       The States cannot establish a likelihood of success on the merits. As an initial matter, they

lack standing and, correspondingly, cannot show irreparable harm. But even if the States could

establish standing, their claims are without merit. They fail to clear several APA threshold

limitations and, regardless, cannot prevail even if they were to overcome those fatal limitations.

Given that the States cannot succeed on the merits, this Court should deny the States’ motion on

that basis alone and dismiss the Complaint.
       A. The States cannot establish standing, let alone irreparable harm.
       To establish standing to “seek injunctive relief, a plaintiff must show that” it “is under

threat of suffering” an “actual and imminent” injury caused by “the challenged action,” and that

“a favorable judicial decision will prevent” that injury. Summers v. Earth Island Inst., 555 U.S.

488, 493 (2009). The “threatened injury must be certainly impending to constitute injury in fact”;

allegations of “possible future injury do not satisfy . . . Art. III.” Whitmore v. Arkansas, 495 U.S.

149, 158 (1990) (emphasis added). “[W]hen the plaintiff is not [itself] the object of the government

action or inaction he challenges, standing is not precluded, but it is ordinarily substantially more

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difficult to establish.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 562 (1992). Additionally, to

establish redressability, a plaintiff must show that “it is likely, as opposed to merely speculative,

that the injury will be redressed by a favorable decision.” Friends of the Earth, Inc. v. Laidlaw

Env’t Servs. (TOC), Inc., 528 U.S. 167, 181 (2000).

       The States fail to establish that the September Guidance has inflicted, or will “certainly”

inflict, any injury upon the States. The States rely on two speculative injury theories. First, they

assert that the September Guidance will result in a net increase in noncitizens within the States

who should have been apprehended and/or removed under two statutory provisions—§§ 1226(c)

and 1231(a)—and that these individuals will then commit crimes and thus impose crime-related

costs on the States.

       As a threshold matter, a litigant “lacks a judicially cognizable interest in the prosecution or

nonprosecution of another,” and cannot rest standing on claims of perceived underenforcement.

Linda R.S. v. Richard D., 410 U.S. 614, 619 (1973); see id. (a party “lacks standing to contest the

policies of the prosecuting authority when he himself is neither prosecuted nor threatened with

prosecution”). Similarly, a party has “no judicially cognizable interest in procuring enforcement

of the immigration laws” against someone else. Sure-Tan, Inc. v. NLRB, 467 U.S. 883, 897 (1984).

That is sufficient to defeat the States’ assertion of standing.

       And regardless, this theory is deficient because it piles one layer of speculation onto

another. Cf. Clapper v. Amnesty Int’l Inc., 568 U.S. 398, 414 (2013) (a “speculative chain of

possibilities does not establish that” an injury “is certainly impending”); Clark v. Stone, 998 F.3d

287, 294 (6th Cir. 2021) (“Speculative allegations of possible future injury are not sufficient”).

Even assuming that the September Guidance will result in a net reduction in enforcement actions

against those covered by sections 1226(c) and 1231(a) in the plaintiff States, the States’ theory

assumes, with no support, that the noncitizens spared from enforcement actions due to the

September Guidance will commit more crimes—and, specifically, will commit crimes that require

more state resources—than those who will now be apprehended due to the September Guidance’s

prioritization framework. See September Guidance at 8-9, PAGEID 103-104. Relevant data,

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however, suggests the opposite—that focusing resources through a prioritization framework will

enable DHS to take action against a greater number of noncitizens who pose a more significant

threat to public safety. For example, while the Interim Guidance was in effect, it resulted in more

arrests of noncitizens convicted of aggravated felonies. See Considerations Memo at 17, PAGEID

459 (from February 18 to August 21, 2021, “ICE . . . arrested 6,046 individuals with [aggravated

felony] convictions compared to just 3,575 in the same period in 2020”); Berg Decl. ¶¶ 15-16,

PAGEID 600 (AR DHSP_00006035). Likewise, in furtherance of the Interim Guidance, ICE was

able to direct some resources to better assist with the Department’s border security priorities. See

id. ¶ 18, PAGEID 601 (AR DHSP_00006036) (noting that ICE “detailed” approximately 300 ICE

officers “to the Southwest Border to support CBP operations”).

          To support their theory, Plaintiffs refer to the District of Arizona’s conclusion that Arizona

had standing to challenge the Interim Guidance because it “present[ed] evidence” that it “place[d]

at least four noncitizens with criminal convictions on community supervision . . . who, but for the

Interim Guidance, would have been [removed].” Arizona, 2021 WL 2787930, at *7. But, as

explained above, the States cannot establish that any increase in costs relating to supervised release

will exceed the costs that the States will not incur due to the September Guidance’s focus on those

noncitizens most likely to pose a threat to public safety. And, in any event, any such costs would

be self-inflicted; the States would be choosing to place certain noncitizens spared from

enforcement actions under the September Guidance under supervised release. See Buchholz v.

Meyer Njus Tanick, PA, 946 F.3d 855, 866 (6th Cir. 2020) (“But if the plaintiff caused his own

injury, he cannot draw a connection between that injury and the defendant’s challenged

conduct.”).10 Accordingly, the States’ alleged “crime” theory does not establish their standing to

challenge the September Guidance.

          The States also allege that the September Guidance will cause more noncitizens to reside

in the States and enroll in public health and education benefits, thus imposing costs on the States.


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     Having filed within the Sixth Circuit, the States must accept any differences in governing law.

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But it is entirely speculative whether the September Guidance will lead to a net increase in State

populations; the Secretary specifically directed line officers to focus efforts on arresting and

removing noncitizens who arrive or arrived after November 2020, while also focusing on national

security and public safety threats. To assert, as the States do, that this prioritization scheme will

result in an increase in state populations is both rank speculation and contrary to logic, given the

guidance to focus on noncitizens arriving after November 2020. And this theory of injury suffers

from similar defects as the States’ crime theory of injury. See PI Mem. at 41-43. The States again

rely on an unsupported assertion that those who will be spared from imminent enforcement actions

will choose to utilize public health care and education resources to a degree greater than those who

would otherwise have remained in the States and utilized their resources, but for the September

Guidance. The States provide no supporting evidence for this theory. They make little attempt to

show that the specific noncitizens whose arrest or removal may be deferred under the September

Guidance are more likely to (and will), for example, require medical care, will be unable to finance

this medical care, and will specifically choose to rely on public health resources as a result.

       Moreover, the injury theories for Plaintiffs Ohio and Montana are distinctly inadequate.

See Crawford v. United States Dep’t of Treasury, 868 F.3d 438, 457 (6th Cir. 2017) (“Each

plaintiff has the burden clearly to allege facts demonstrating that he is a proper party to invoke

judicial resolution of the dispute”). Unlike Arizona—a “border state” that allegedly is “acutely

affected by modifications in federal [immigration] policy,” Compl. ¶ 35, PAGEID 9—neither Ohio

nor Montana claims to be uniquely “affected” by any change in immigration policy, and neither

alleges that it has witnessed an increase in the number of noncitizens present in its State since the

interim priorities went into effect. Further, although Ohio and Montana allege that they suffer

harms from drug trafficking facilitated by certain noncitizens, see Compl. ¶¶ 54, 59, PAGEID 13-

14, they do not—and cannot—tie these harms to the September Guidance. They do not show that

the September Guidance will result in decreased immigration enforcement against those trafficking

in drugs, much less that any specific drugs trafficked by any who are spared from enforcement

actions due to the September Guidance will ultimately end up in Ohio and Montana in particular.

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        Indeed, this theory of harm is illogical. The September Guidance prioritizes border security

and specifically focuses enforcement efforts on those who arrived after November 2020—

including those who smuggle drugs cross the border. While the Interim Guidance was in place

DHS was able to surge additional resources to the border, see Berg Decl. ¶ 18, PAGEID 601 (AR

DHSP_00006036), and there is nothing in the September Guidance that will hinder prevention of

ongoing cross-border threats. Indeed, DHS’s recent massive efforts to stem the flow of fentanyl

and other dangerous drugs into the United States are well documented.11 Moreover, the public

safety prioritization allows DHS to focus its efforts on the most dangerous criminals, as

demonstrated during the Interim Priorities, see Berg Decl. ¶ 16, PAGEID 600 (AR

DHSP_00006035); AART Data Memo, PAGEID 537 (AR DHSP_00000108). An order setting

aside the September Guidance would not redress the States’ asserted harm, and indeed might

increase the flow of drugs by forcing the agency to treat fentanyl trafficking the same way it treats

check-kiting or any other “crime involving moral turpitude.” See, e.g., PI Mem. at 18, PAGEID

81 (arguing that DHS must prioritize crimes of moral turpitude to the same extent it prioritizes

aggravated felonies); see also 8 U.S.C. § 1226 (c)(1)(A) (cross-referencing id. §1182(a)(2)(A)(i)).

Thus, the Court, at a minimum, should dismiss Ohio and Montana from this suit.12
        Finally, the States cannot show that there is a “substantial likelihood” that a court order

that DHS abandon the September Guidance would redress their alleged injuries. Due to resource

constraints, every Administration must prioritize certain enforcement actions over others; the only

question is how it prioritizes. See Arizona, 567 U.S. at 396 (“A principal feature of the removal

system is the broad discretion exercised by immigration officials. . . . Federal officials . . . must

decide whether it makes sense to pursue removal at all” based on the “equities of an individual

case.”). The States make no attempt to show that, if the Court enjoins the September Guidance,


11
       See,     e.g.,   U.S.    Customs    and       Border    Protection,     Drug      Seizure     Statistics,
https://www.cbp.gov/newsroom/stats/drug-seizure-statistics (tool for comparing CBP drug seizure
statistics) (last accessed Dec. 27, 2021).
12
   Should the Court dismiss Ohio as a plaintiff, it should reconsider its decision not to transfer the matter
to the District of Arizona.

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the resulting prioritization scheme would result in a decrease in crime levels within their States, or

a decrease in the number of noncitizens who use health care or education resources at the States’

expense.

       Accordingly, none of the States’ injury theories is sufficient to establish standing, much

less an irreparable harm sufficient to justify the extraordinarily relief they seek here.
       B.        The States cannot clear three additional threshold obstacles to their claims.
       The APA imposes several restrictions on suits challenging an agency’s execution of its

mission. Three of those limitations each independently bars the States’ claims here. First,

immigration enforcement priorities are not subject to judicial review because such determinations

are “committed to agency discretion by law” under 5 U.S.C. § 701(a)(2). Second, the September

Guidance is not “final agency action” subject to review under the APA because it does not alter

anyone’s (much less the States’) legal rights or obligations. See id. § 704. Third, numerous

provisions of the INA narrowly circumscribe the mechanisms and procedures for judicial review

of immigration policies and thereby “preclude judicial review” under the APA. See id. § 701(a)(1).
            1.      The challenged action is “committed to agency discretion by law.”
       The APA precludes review of certain categories of administrative decisions that

“traditionally” have been regarded as unsuitable for judicial review. Lincoln v. Vigil, 508 U.S. 182,

191 (1993); see 5 U.S.C. § 701(a)(2). One such category which has long been recognized as
unreviewable includes decisions concerning enforcement. See Heckler v. Chaney, 470 U.S. 821,

831 (1985). “Pursuant to § 701(a)(2) of the APA, an administrative agency’s decision not to invoke

an enforcement mechanism is not subject to judicial review.” Ohio Pub. Int. Rsch. Grp., Inc. v.

Whitman, 386 F.3d 792, 797 (6th Cir. 2004). As the Supreme Court has explained, an agency

“generally cannot act against each technical violation of the statute it is charged with enforcing.”

Chaney, 470 U.S. at 831. And the agency “is far better equipped than the courts to deal with the

many variables involved in the proper ordering of its priorities” because such decisions inherently

require “a complicated balancing of a number of factors which are peculiarly within [the



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Executive’s] expertise,” including how “agency resources are best spent on this violation or

another,” and which enforcement actions “best fit[] the agency’s overall policies.” Id. at 831-32.

        Thus, the Executive’s “broad discretion” in enforcement decisions is “particularly ill-suited

to judicial review.” Wayte v. United States, 470 U.S. 598, 607 (1985). “[A]n agency’s decision not

to prosecute or enforce, whether through civil or criminal process, is a decision generally

committed to an agency’s absolute discretion.” Chaney, 470 U.S. at 831; see also, e.g., Ohio Pub.

Int. Rsch. Grp., Inc., 386 F.3d at 797. And the reasons for judicial modesty in this sphere “are

greatly magnified in the deportation context,” AADC, 525 U.S. at 490, where every decision

“implicate[s] our relations with foreign powers and require[s] consideration of changing political

and economic circumstances,” Jama v. ICE, 543 U.S. 335, 348 (2005) (quoting Mathews v. Diaz,

426 U.S. 67, 81 (1976)). As district courts in Florida and Arizona have concluded in rejecting two

other recent challenges to DHS’s immigration enforcement priorities, such policies are therefore

not subject to judicial review. See Florida, 2021 WL 1985058, at *10; Arizona, 2021 WL 2787930,

at *11.13

        Contrary to the States’ contention, this presumption of unreviewability is not rebutted by

the presence of the word “shall” in two provisions of the INA. See PI Mem. at 25-26, PAGEID

88-89. For one, neither statute provides any guidance on how, given the agency’s limited

resources, it is to prioritize among the many cases that fall within their ambit. For another, and as

the Supreme Court has long held, the “deep-rooted nature of law-enforcement discretion” persists

“even in the presence of seemingly mandatory commands” that use the word “shall.” Castle Rock,

545 U.S. at 761. In Castle Rock, for example, a statute provided that law enforcement “shall arrest

. . . or . . . seek a warrant” for the arrest of any violator of a restraining order, but the Supreme

Court rejected the notion this imposed a mandatory duty because to be “a true mandate of police



13
   As discussed above, a Texas district court concluded that the interim priorities were reviewable and
enjoined them; a Fifth Circuit panel largely stayed that injunction, concluding that they likely were not
reviewable. After the interim priorities were rescinded, the en banc Fifth Circuit vacated the stay. See supra
at 8.

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action would require some stronger indication” of legislative intent than the bare “shall.” Id.; see

also, e.g., Hudson v. Hudson, 475 F.3d 741 (6th Cir. 2007) (“But seemingly mandatory statutes,

such as this one, and police discretion coexist frequently.”).

       So too here. Nothing provides the “stronger indication” necessary to displace enforcement

discretion. Quite the opposite: The statutory and practical context here confirm that neither

§ 1226(c) nor § 1231(a)(1) imposes an enforceable mandate. See AADC, 525 U.S. at 490

(observing that principles of judicial restraint are “greatly magnified in the deportation context”);

Jama, 543 U.S. at 348 (similar). Resource constraints, relations with local and foreign authorities,

and the fundamental difficulty of determining ex ante whether a particular noncitizen’s status

triggers the statutory criteria all make it practically impossible to remove every noncitizen within

90 days of a removal order becoming “final” or to detain every noncitizen who falls within the

wide ambit of § 1226(c). Other statutory provisions underscore the Secretary’s retained discretion,

such as Congress’s express direction that the Secretary establish “national immigration

enforcement policies and priorities,” 6 U.S.C. § 202(5), and that he “establish such regulations;

. . . issue such instructions; and perform such other acts as he deems necessary for carrying out his

authority” under the statute, 8 U.S.C. § 1103(a)(3) (emphasis added); see also id. § 1103(a)(1).

Many provisions of the Illegal Immigration Reform and Immigrant Responsibility Act (IIRIRA),

of which § 1231 and § 1226 are a part, “are aimed at protecting the Executive’s discretion from

the courts—indeed, that can fairly be said to be the theme of the legislation.” AADC, 525 U.S. at

486–87; see also infra section I.B.3 (explaining the Congress separately precluded judicial

review). And in the few places where Congress sought to displace the Executive’s inherent

discretion, it was explicit. See, e.g., 8 U.S.C. § 1231(a)(2) (“under no circumstance”).

       Legislative history also confirms that in § 1231, Congress set 90 days for removal of a

noncitizen as a “target,” not a strict deadline, see H.R. Rep. 104-469, pt. 1, at 160, (conf. rep.)

(1996) and the Supreme Court has already explained that, while in § 1226 Congress “exhort[ed]”

the Secretary to act quickly, that did not mean that “Congress wanted the deadline enforced by



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courts.” Nielsen v. Preap, 139 S. Ct. 954, 969 & n.6 (2019) (emphasis in original).14 Simply put,

Congress has not displaced the Executive’s longstanding discretion to choose which are the most

important cases to pursue. See AADC, 525 U.S. at 483 (in post-IIRIRA case, observing that “the

Executive has discretion to abandon the endeavor” at any stage of the removal process); Arizona,

567 U.S. at 396 (in post-IIRIRA case, observing a “principal feature of the removal system is the

broad discretion exercised by immigration officials”). The Secretary’s exercise of that discretion

embodied in the September Guidance is unreviewable, and this Court therefore lacks jurisdiction.

        Nor do the States defeat the presumption of nonreviewability by misbranding the policy as

a “broad nonenforcement policy.” PI Mem. at 26-27, PAGEID 89-90. To be sure, in Chaney the

Supreme Court reserved judgment on whether its holding would apply when “the agency has

consciously and expressly adopted a general policy that is so extreme as to amount to an abdication

of its statutory responsibilities.” 470 U.S. at 833 n.4. But the policy at hand is quite evidently not

such a policy. Nothing in the policy exempts any noncitizen or class of noncitizens from removal

or arrest; it simply provides guidance to line officers on how to weigh the totality of circumstances

to decide whether to pursue enforcement in a particular case. The recent experience with the

Interim Guidance demonstrates the efficacy of a prioritization scheme, as it permitted DHS to

increase enforcement actions against aggravated felons even in the face of severely limited free

detention capacity. See Berg Decl. ¶ 10-12, 16, PAGEID 597 (AR DHSP_00006032-35); AART

Data Memo, PAGEID 537 (AR DHSP_00000108). In adopting the September Guidance, the

Secretary recognized that DHS does “not have the resources to apprehend and seek the removal



14
  Courts, including the Supreme Court, have sometimes described § 1231 or § 1226 in terms of a mandate.
See, e.g., Martinez v. Larose, 968 F.3d 555, 561 (6th Cir. 2020). But those cases arose in wholly different
contexts—generally detainees seeking relief, not a party seeking to compel government compliance. They
did not decide, as the issue was not remotely implicated, whether the statutes impose a judicially
enforceable duty on the Secretary. Indeed, Preap stands for just the opposite: the statutes are mandatory in
the sense that a court must abide them when adjudicating a challenge by a noncitizen, not in the sense that
courts can compel the Secretary’s compliance. 139 S. Ct. at 969 & n.6. Thus, while those cases generally
say nothing at all about whether a party can compel enforcement under § 1226(c) or § 1231(a)(1), the
Supreme Court’s statement that comes closest to the issue rejects the idea of judicial enforcement.


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of” all removable noncitizens, but reiterated the Department’s “commitment to enforce

immigration law to the best of our ability.”15
             2.    The challenged action is not “final agency action” subject to APA review.
        Only “final agency action” is subject to judicial review under the APA. 5 U.S.C. § 704; see

Jama, 760 F.3d at 495; Martinez v. Larose, 968 F.3d 555, 563 (6th Cir. 2020). Like the Interim

Guidance, the September Guidance is not “final agency action” because it does not create or alter

legal “rights or obligations.” Bennett v. Spear, 520 U.S. 154, 178 (1997); see Florida, 2021 WL

1985058, at *9 (holding that Interim Guidance was not “final agency action” because (among other

reasons) it did not alter legal rights or obligations).

        The September Guidance does not alter any person or entity’s legal rights or obligations.

Noncitizens with no legal right to remain in the United States have no legal right to remain, just as

before. Noncitizens subject to arrest and detention remain subject to arrest and detention, just as

before. Nothing in the September Guidance exempts, or purports to exempt, any person or class

of persons from enforcement. Indeed, the guidance is explicit that it does not “create any right or

benefit.” September Guidance at 7, PAGEID 98. Thus, noncitizens cannot invoke the September

Guidance to avoid removal or obtain release from detention. Instead, it is only later actions by

government officials—culminating in a final order of removal, for example—that determine any

noncitizen’s legal rights. See, e.g., Hosseini v. Johnson, 826 F.3d 354, 362 (6th Cir. 2016) (denial

of application for change in status was final agency action because it affected legal “right to live

permanently in the United States” and “the right to apply for and be granted naturalization”). That

these later actions might be guided to some degree by the September Guidance does not mean that

the September Guidance itself affects legal rights. To the contrary, “[a]n agency action is not final



15
   The States cite to partial data related to the now-rescinded interim priorities. See PI Mem. at 9-11,
PAGEID 72-74; cf. AART Summary Memo, PAGEID 537 (AR DHSP_00000108) (assessing national data
for longer period). The new policy that is the subject of this litigation differs in significant respects that the
States elide. But in any event, the District Court for the District of Arizona, faced with the exact same data,
has already rejected precisely the argument Arizona and Montana, now joined by Ohio, renew here. See
Arizona v. DHS, 2021 WL 2787930, at *10 (D. Ariz. June 30, 2021).

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if it does not of itself adversely affect complainant but only affects his rights adversely on the

contingency of future administrative action.” Jama, 760 F.3d at 496.

       Nor does the September Guidance alter legal rights or obligations for any other person or

entity. The policy certainly does not affect the States’ legal rights or obligations; DHS does not

regulate the States, and the policy does not purport to impose, or relieve them of, any duties or

obligations. Cf. Air Brake Sys., Inc. v. Mineta, 357 F.3d 632, 641 (6th Cir. 2004) (“An agency’s

determination of ‘rights or obligations’ generally stems from an agency action that is directly

binding on the party seeking review, such as an administrative adjudication (like a recall

proceeding) or legislative rulemaking, both of which did not happen here.”). The States may have

other pre-existing legal duties—such as to provide education or medical benefits to certain

noncitizens—but those legal obligations exist independent of the September Guidance. To the

extent the States contend that they will be harmed by the policy because of increased costs—a

point Defendants dispute, see supra section I.A—it is settled law in the Sixth Circuit that “harms

caused by agency decisions are not legal consequences if they stem from independent actions taken

by third parties.” Parsons, 878 F.3d at 168; see also id. at 169 (“[P]ractical consequences are not

legal harms that can transform [a] Report[ ] into a final agency order and trigger our jurisdiction.”).

And, more broadly, “adverse economic effects accompany many forms of indisputably non-final

government action.” Air Brake Sys., Inc., 357 F.3d at 645. That the States may incur additional

expenses does not mean that the September Guidance determines their legal rights or obligations.

       And agency guidance is not final where it does not create legal rights for, or impose legal

obligations on, third parties, even where that guidance provides “instruction[s] to [agency] staff,”

Nat’l Mining Ass’n v. McCarthy, 758 F.3d 243, 250 (D.C. Cir. 2014) (Kavanaugh, J.). So long as

the agency retains the discretion to alter or revoke the guidance at will—as DHS has expressly

done here—the guidance is nonfinal notwithstanding any expectation that rank-and-file officers

will comply with the guidance while it is in effect. Cf. The Wilderness Soc’y v. Norton, 434 F.3d

584, 596 (D.C. Cir. 2006) (explaining that a particular guidance document did not create rights or

obligations because “the agency’s top administrators clearly reserved for themselves unlimited

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discretion to order and reorder all management priorities,” even though adherence was generally

“mandatory” for rank-and-file staff). Moreover, the September Guidance is explicit that it “does

not compel an action to be taken or not taken” but instead “leaves the exercise of prosecutorial

discretion to the judgment of [DHS] personnel.” September Guidance at 5, PAGEID 96.
           3.     Congress has precluded judicial review of these types of decisions.
       Consistent with the broad discretion afforded DHS in immigration enforcement, Congress

enacted “many provisions . . . aimed at protecting the Executive’s discretion from the courts.”

AADC, 525 U.S. at 486. Those provisions preclude judicial review in this case.
             a.    APA challenges to DHS’s application of enforcement priorities are precluded
                   from review.
       An action cannot proceed under the APA when other statutes preclude judicial review. 5

U.S.C. § 701(a)(1). “Whether and to what extent a particular statute precludes judicial review is

determined not only from its express language, but also from the structure of the statutory scheme,

its objectives, its legislative history, and the nature of the administrative action involved.” Block,

467 U.S. at 345. A detailed mechanism for review of some claims by some plaintiffs is “strong

evidence that Congress intended to preclude [other types of plaintiffs] from obtaining judicial

review.” United States v. Fausto, 484 U.S. 439, 448 (1988).

       Congress has set out a detailed statutory review scheme for claims pertaining to the INA.

See 8 U.S.C. § 1252; id. § 1229. That review scheme is the exclusive means of judicial review and

precludes statutory claims that do not fall within its parameters. See, e.g., id. § 1252(a)(5) (“For

purposes of this chapter, in every provision that limits or eliminates judicial review or jurisdiction

to review, [those terms] include . . . review pursuant to any other provision of law (statutory or
nonstatutory)”). Section 1252(b)(9) channels judicial review of all “decisions and actions leading

up to or consequent upon final orders of deportation,” including “non-final order[s],” into one

proceeding exclusively before a court of appeals. AADC, 525 U.S. at 483, 485. A separate—and

even more limited—scheme governs judicial review of expedited orders of removal. See 8 U.S.C.

§ 1252(a)(2)(A); id. § 1252(e). These provisions circumscribe district court jurisdiction over “any


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issue—whether legal or factual—arising from any removal-related activity,” which “can be

reviewed only through the [statutorily defined] process.” J.E.F.M. v. Lynch, 837 F.3d 1026, 1029–

31 (9th Cir. 2016); see Aguilar v. ICE, 510 F.3d 1, 9 (1st Cir. 2007) (similar). That includes

“policies-and-practices challenges,” J.E.F.M., 837 F.3d at 1035, arising from any “action taken or

proceeding brought to remove an alien,” 8 U.S.C. § 1252(b)(9), whether or not the challenge is to

an actual final order of removal or whether there even is a final order at all, J.E.F.M., 837 F.3d at

1032. Thus, § 1252(b)(9) is an “unmistakable ‘zipper’ clause” that means “no judicial review in

deportation cases unless this section provides judicial review.” AADC, 525 U.S. at 482-83.

       The claims here “arise[] from” “action[s] taken or proceeding[s] brought to remove an

alien.” 8 U.S.C. § 1252(b)(9). The States challenge what they allege to be DHS’s practice

regarding (1) detention of certain noncitizens “pending a decision” on removal, id. § 1226(c); and

(2) removal of noncitizens with final orders of removal, id. § 1231(a)(1). Because § 1252 provides

the sole mechanism for review of all “decisions and actions leading up to or consequent upon final

orders of deportation,” AADC, 525 U.S. at 485, and because the States cannot invoke § 1252, their

claims necessarily fail.

       As Justice Scalia explained in Fausto, when Congress provides for review by specific

plaintiffs, but not by others, the excluded plaintiffs cannot obtain judicial review. 484 U.S. at 448.

In Block, for example, Congress provided a specific review scheme for “dairy handlers” but said

nothing at all about “consumers.” 467 U.S. at 346-47. This did not mean that milk consumers could

resort to the APA to challenge the agency action; it meant they could not challenge the action at

all. Id. at 347. That is precisely what Congress did here. By providing a detailed and limited review

scheme for noncitizens’ claims, Congress has implicitly precluded claims by other persons or

entities, including by these the States, under the APA or otherwise. Cf. Ayuda, Inc. v. Reno, 7 F.3d

246, 250 (D.C. Cir. 1993) (holding that organizational plaintiff could not challenge INS policies

“that bear on an alien’s right to legalization”).




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             b.    The States’ § 1226(c) challenge is specifically precluded from review.
       In addition, Congress expressly precluded judicial review over the States’ § 1226 claim.

Congress provided that the Secretary’s “discretionary judgment regarding the application of this

section shall not be subject to review.” 8 U.S.C. § 1226(e). Here, the Secretary’s determinations

under § 1226(c) are discretionary since he may detain a noncitizen under § 1226—under either (a)

or (c)—only “pending a decision” on removal. Detention authority is thus contingent on the

Secretary’s separate, predicate, and discretionary decision to commence removal proceedings in

the first instance, by issuing a notice to appear. See id. § 1229(a); Crane v. Johnson, 783 F.3d 244,

249 (5th Cir. 2015); cf. Niz-Chavez v. Garland, 141 S. Ct. 1474, 1482 (2021) (“A notice to appear

serves as the basis for commencing a grave legal proceeding” and “is like an indictment in a

criminal case”). Thus, even crediting a judicially enforceable mandate in § 1226(c) to detain

certain noncitizens “pending a decision” on removal, that mandate would not disrupt the

Executive’s “‘broad discretion’ to decide who should face enforcement action in the first place.”

Texas, 14 F.4th at 337 (quoting Arizona, 567 U.S. at 396).

       The policy the States challenge here—which does not dictate which noncitizens DHS may

detain, and expressly does not apply to detention determinations, but instead simply establishes

internal procedures that help DHS target its resources—is still deeper within the Secretary’s

discretion. Put otherwise, Congress vested the Secretary with discretion to decide who to pursue

for removal in the first instance, 8 U.S.C. § 1229(a), and derivatively who to detain pending

removal, id. § 1226(a); Congress also vested the Secretary with authority to set “national

immigration enforcement polices and priorities,” 6 U.S.C. § 202(5); and Congress also provided

that such decisions “shall not be subject to judicial review,” 8 U.S.C. § 1226(e). The Court

therefore lacks jurisdiction to review the Secretary’s discretionary decision to structure

immigration enforcement priorities as he has here.

       To be sure, the Supreme Court has held that § 1226(e) does not preclude a habeas petitioner

from challenging either the constitutionality of the statutory scheme or that his detention is not

authorized by that scheme. See Demore v. Kim, 538 U.S. 510, 517 (2003). That is so because

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Congress must speak more clearly when it seeks to preclude constitutional claims or habeas

review. Id. In subsequent cases, a plurality of the Court similarly found jurisdiction over

constitutional challenges to the statutory framework or to claims contending that detention was not

authorized by that framework. Preap, 139 S. Ct. at 962 (plurality); Jennings, 138 S. Ct. at 841

(plurality). But see Preap, 139 S. Ct. at 974-75 (Thomas, J., concurring in part) (finding that

§ 1226(e) bars even those claims); Jennings, 138 S. Ct. at 857 n.6 (Thomas, J., concurring in part)

(same). Here, the States’ APA claims are neither constitutional claims nor habeas claims; nor are

they arguing that the Secretary lacks the power to detain certain noncitizens under § 1226(c). The

“text of the statute contains no [related] exception” for APA claims, Preap, 139 S. Ct. at 975

(Thomas, J., concurring in part). Because the claims here do not implicate the special rules of

construction related to constitutional and habeas claims, § 1226(e) precludes review.
             c.    The States’ § 1231(a)(1) challenge is likewise specifically precluded.
       Section 1231 similarly precludes judicial review of the States’ challenge based on that

section. Congress provided, in no uncertain terms, that “[n]othing in [§ 1231] shall be construed

to create any substantive or procedural right or benefit that is legally enforceable by any party

against the United States.” 8 U.S.C. § 1231(h). Section 1231 is simply not subject to judicial

enforcement, by the States or by “any party.” Section 1231(h), like its statutory ancestor, “makes

clear that Congress intended that no one be able to bring suit to enforce” it. Hernandez-Avalos v.

INS, 50 F.3d 842, 844 (10th Cir. 1995) (holding that, under the same zone of interests test

applicable to APA actions, a plaintiff could not enforce the statute).

       The States’ resist the straightforward and plain meaning of the term “any party” as meaning

any party. See PARTY, Black’s Law Dictionary (11th ed. 2019); Ali v. Fed. Bureau of Prisons, 552

U.S. 214, 218–19 (2008) (“[R]ead naturally, the word ‘any’ has an expansive meaning, that is,

‘one or some indiscriminately of whatever kind.’”) (quoting United States v. Gonzales, 520 U.S.

1, 5 (1997)). Instead, they insist that the phrase “any party” means only noncitizens “involved in

removal proceedings.” PI Mem. at 27, PAGEID 90. The sole support they provide for this atextual

reading is an out-of-circuit district court decision, Chhoeun v. Marin, No. SACV 17-01898-CJC,

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2018 U.S. Dist. LEXIS 132363, 2018 WL 1941756 (C.D. Cal. Mar. 26, 2018), which the States

quote for the proposition that “‘[s]ection 1231(h)’s bar is irrelevant’ to APA claims brought by

States, because States do ‘not bring any claims under that section.’” PI Mem. at 27, PAGEID 90

(quoting Chhoeun, 2018 WL 1941756, at * 17n.3). But Chhoeun has nothing to do with claims by

a State, does not purport to interpret the term “any party,” and instead merely observes that

§ 1231(h) does not bar claims not trying to enforce § 1231’s terms. It provides no support for the

States’ argument.

       In any event, such an interpretation is belied by statutory structure and purpose. The

provision is not limited to “parties to removal proceedings.” And the provision conspicuously uses

the term “any party” in § 1231(h) instead of “the alien,” as is used throughout the rest of § 1231 to

refer to the noncitizen in a removal proceeding. See 8 U.S.C. § 1101(a)(3) (defining “alien”); see

also Digital Realty Tr., Inc. v. Somers, 138 S. Ct. 767, 777 (2018). Further, the conference report

for the legislation in which Congress enacted § 1231(h) notes that the provision “is intended,

among other things, to prohibit the litigation of claims by aliens who have been ordered removed

from the U.S. that they be removed at a particular time or to a particular place.” See H.R. Rep. No.

104-828, at 219 (emphasis added). “[I]t is not, and cannot be, our practice to restrict the unqualified

language of a statute to the particular evil that Congress was trying to remedy—even assuming

that it is possible to identify that evil from something other than the text of the statute itself.”

Brogan v. United States, 522 U.S. 398, 403 (1998). Accordingly, although § 1231(h) certainly

does preclude a noncitizen in a removal proceeding from enforcing any provision of § 1231,

§ 1231(h) is not limited to that scenario.

       Finally, for similar reasons, the States do not come within the relevant zone of interests to

pursue an APA claim premised on § 1231. An APA plaintiff must show that it is “aggrieved . . .

within the meaning of a relevant statute,” 5 U.S.C. § 702, meaning the plaintiff “may not sue unless

he ‘falls within the zone of interests sought to be protected by the statutory provision whose

violation forms the legal basis for his complaint,’” Thompson v. N. Am. Stainless, LP, 562 U.S.

170, 177 (2011) (quoting Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 883 (1990)); see also Match-

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E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak, 567 U.S. 209, 224 (2012). Whether

a plaintiff is within the zone of interests is answered “using traditional tools of statutory

interpretation” to decide if the particular plaintiff “falls within the class of plaintiffs whom

Congress has authorized to sue.” Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S.

118, 127-28 (2014).

       Those ordinary tools provide a straightforward answer: By providing that the terms of

§ 1231 could not be enforced by “any party against the United States or its agencies or officers or

any other person,” § 1231(h), Congress made clear that no one—not the States or anyone else—

was “authorized to sue” to enforce its terms, Lexmark, 572 U.S. at 128. The States are mistaken to

point to the broader interests protected by the INA as the relevant focus. The zone-of-interests test

is assessed “not by reference to the overall purpose of the Act in question,” but “by reference to

the particular provision of law upon which the plaintiff relies.” Bennett, 520 U.S. at 175-76. And,

as just explained above, Congress was clear that no entity can enforce § 1231, and therefore no

entity is within the “zone of interests” of § 1231. See 8 U.S.C. § 1231(h); Hernandez-Avalos, 50

F.3d at 844.
       C.        The States’ APA claims fail on the merits.
            1.      The September Guidance is not “contrary to law.”
       Even if judicial review of the States’ claims were not barred, they would fail on the merits.
The States principally contend that DHS has a non-discretionary duty to remove all noncitizens

who are subject to final orders of removal under § 1231(a)(1)(A) and to apprehend all noncitizens

who have committed certain criminal offenses under § 1226(c)(1). PI Mem. at 13-15, PAGEID

76-78. Neither section displaces DHS’s traditional prosecutorial discretion to decide which

noncitizens to bring enforcement actions against. The statutes oblige DHS not to release (with

limited exceptions) certain noncitizens who have already been arrested and taken into custody,

while the Department is pursuing their removal or during the removal period. The September

Guidance does not govern detention determinations at all, and so that obligation does not apply.

Even if the statutes contained broader mandates, the September Guidance would not violate them

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because it simply establishes guidelines for DHS officers to exercise their discretion, and it does

not prohibit DHS from removing or taking custody of any noncitizen.
             a.    The September Guidance does not violate § 1231(a).
       The States’ argument that the September Guidance violates § 1231(a)(1) fails because the

provision does not create a mandatory duty for the Secretary to remove every noncitizen subject

to a final order of removal within 90 days. Rather, as with any statute providing for enforcement,

even one using the word “shall,” the Executive retains the inherent discretion to choose which

cases to pursue. See Castle Rock, 545 U.S. at 761. Thus, the statute providing that the U.S. Attorney

“shall [] prosecute for all offenses against the United States,” 28 U.S.C. § 547, does not strip him

of all prosecutorial discretion.

       Neither of the cases that the States cite, Johnson v. Guzman Chavez, 141 S. Ct. 2271 (2021)

and Martinez v. Larose, 968 F.3d 555 (6th Cir. 2020), reh’g en banc denied, 980 F.3d 551 (6th

Cir. 2020), stands for the proposition that the Secretary must remove noncitizens in the removal

period within 90 days. Those cases arose in a wholly different context—detainees seeking relief,

not a party seeking to direct executive enforcement practices. To be sure, those cases sometimes

described the statutes as “mandatory,” but they did not decide, as the issue was not remotely

implicated, whether the statutes impose a judicially enforceable duty on the Secretary. It is not

plausible that, without briefing and without acknowledgment, those courts silently adjudicated the

wholly separate and constitutionally significant issue of a court’s power to compel the executive

to allocate its limited enforcement resources in a particular manner, sweeping aside longstanding

doctrines concerning enforcement discretion both in the face of a statute using the word “shall,”

see Castle Rock, 545 U.S. at 748, and in the immigration context, see AADC, 525 U.S. at 483;

Arizona, 567 U.S. at 396; see also Texas, 14 F.4th at 338-39.

       The States make much of the fact that DHS interprets § 1231(a)(2) differently than

§ 1231(a)(1). PI Mem. at 14, PAGEID 77. But Congress used different language in the two

provisions. The first sentence of § 1231(a)(2) mirrors § 1231(a)(1): “During the removal period,

the [Secretary] shall detain” the noncitizen. Neither that sentence nor § 1231(a)(1) is mandatory.

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The second sentence of § 1231(a)(2), by contrast, contains unmistakably mandatory language:

“Under no circumstance during the removal period shall” certain terrorist and criminal noncitizens

be released. 8 U.S.C. § 1231(a)(2) (emphasis added). DHS has thus long understood § 1231(a)(2)

to require DHS to continue to detain those specified noncitizens during the removal period, once

arrested. Consistent with DHS’s understanding, the Supreme Court has explained that § 1231(a)

only “mandates detention of certain criminal aliens” during the removal period. Zadvydas, 533

U.S. at 698 (emphasis added). Were it otherwise, then DHS would have to detain every noncitizen

during the removal period, even if removal ultimately proved impossible or were inconsistent with

agency priorities or the national interest, and even if the agency determined that detention was

unnecessary to effectuate the removal. “Removal decisions . . . implicate our relations with foreign

powers and require consideration of changing political and economic circumstances.” Jama, 543

U.S. at 348 (quoting Mathews, 426 U.S. at 81). Congress thus intended for DHS to retain flexibility

to account for the “dynamic nature of relations with other countries,” Arizona, 567 U.S. at 397;

“to avoid removals that are likely to ruffle diplomatic feathers, or simply to prove futile,” Jama,

543 U.S. at 348; and to avoid wasting limited detention resources on noncitizens whose detention

is .16 A corollary of that necessary flexibility is the authority to prioritize which cases DHS will

pursue for actual removal, and accordingly those noncitizens that DHS will take into custody and

detain pending removal. And, interpreting “shall” to mean “must” in this context would render the




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   To name just two examples: a noncitizen generally cannot be removed without procuring travel
documents from his or her native country, but many countries refuse to issue such travel documents until a
noncitizen’s judicial appeals are fully exhausted, which often is years after release from state or local
custody. See, e.g., Adefemi v. Gonzales, 228 F. App’x 415, 416 (5th Cir. 2007) (per curiam). Even with
travel documents, removal may be inappropriate because “[t]he foreign state may be mired in civil war,
complicit in political persecution, or enduring conditions that create a real risk that the alien or his family
will be harmed upon return.” Arizona, 567 U.S. at 396-97. But were the States correct, then DHS must
detain such noncitizens even though foreign affairs concerns mean there is “no significant likelihood of
removal in the reasonably foreseeable future.” Zadvydas, 533 U.S. at 701. Section 1231(a)(2) does not
require that perverse result, which would raise serious constitutional concerns. Id. at 699-700; see also
United States v. Vasquez-Benitez, 919 F.3d 546, 552 (D.C. Cir. 2019).

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truly mandatory command in the second sentence of § 1231(a)(2) to be superfluous to the first

sentence of that provision. The Court should not adopt such an unsupported reading of the statute.

        But even if § 1231(a)(1) did impose an enforceable mandate, the September Guidance

would not violate it. The Guidance does not prohibit any removal action. It simply directs DHS

officials to prioritize removals (and other enforcement actions) when justified by the

circumstances, namely when a noncitizen presents a current threat to public safety, border security,

or national security. That the total number of removals fluctuates from month to month, including

in response to changing enforcement priorities, does not mean that the new enforcement

priorities—which expressly authorize removal in every case where it is justified—violate any

statutory duty. Nothing in § 1231 even arguably precludes DHS from prioritizing removals to

focus on the most important cases.
              b.    The September Guidance does not violate § 1226(c).
        The States’ second argument that the September Guidance violates § 1226(c)(1) fails

because the September Guidance does not govern decisions related to detention and release. See

September Guidance at 1. Rather, the “memorandum provides guidance for the apprehension and

removal of noncitizens.” Id. The States’ arguments about § 1226(c) are therefore inapposite

because the September Guidance does not touch upon detention, the sole action mandated in some

circumstances by § 1226(c)(2).17

        The States are wrong to suggest that § 1226(c)(1) requires DHS to take enforcement action

against certain classes of noncitizens. See PI Mem. at 15, PAGEID 78. As discussed above, the

use of the word “shall” in § 1226(c)(1) does not overcome DHS’s prosecutorial discretion to

determine which noncitizens should be subject to enforcement action. See supra section I.B.1. The

decision to take an enforcement action—including a decision to arrest or issue a notice to appear




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  Section 1226(c)(2) provides that, once covered criminal noncitizens are arrested, detained, and in removal
proceedings, DHS may release them “only if” narrow exceptions are met. Similar to the distinction
discussed above between subsections (a)(1) and (a)(2) in § 1231, § 1226(c)(2) contains truly mandatory
language, whereas the mere “shall” in § 1226(c)(1) does not make apprehension mandatory.

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in the first instance—is committed to agency discretion and, therefore, any decision not to arrest a

noncitizen is not a statutory violation. See id.

       And even if § 1226(c)(1) did create a duty to take custody of noncitizens, the September

Guidance still would not violate it. The September Guidance does not prohibit the arrest of any

noncitizen. It merely prioritizes enforcement actions against certain noncitizens based on public

safety, border security, and national security considerations. Immigration officers may still arrest

any noncitizen they determine to be a worthy use of resources, guided by aggravating and

mitigating circumstances. See September Guidance, PAGEID 98. The Supreme Court in Preap

recognized that, in § 1226(c), Congress did not expect DHS to immediately arrest all noncitizens

covered by that provision. See 139 S. Ct. at 969; see also id. at 973 (Kavanaugh, J., concurring).

Indeed, in Preap some plaintiffs were arrested “several years” after they were released from state

criminal confinement. Id. at 961. The Guidance is not contrary to law.
       2. DHS’s new enforcement guidance is a reasonable effort to prioritize limited resources
          in enforcing immigration laws.
       The States also cannot establish that the September Guidance is arbitrary and capricious.

“Judicial review under [the arbitrary-and-capricious] standard is deferential, and a court may not

substitute its own policy judgment for that of the agency.” Prometheus Radio Project, 141 S. Ct.

at 1158. “A court simply ensures that the agency has acted within a zone of reasonableness and, in

particular, has reasonably considered the relevant issues and reasonably explained the decision.”
Id.; see also Marsh v. Or. Nat. Res. Council, 490 U.S. 360, 378 (1989) (“the reviewing court must

consider whether the decision was based on a consideration of the relevant factors and whether

there has been a clear error of judgment”). Here, Defendants reached a reasonable decision based

on the relevant factors.

       In issuing the September Guidance, the Secretary determined that DHS does not “have the

resources to apprehend and seek the removal of every one of [the more than 11 million

undocumented or otherwise removable noncitizens in the United States],” and he therefore,

emphasized the “need to exercise our discretion and determine whom to prioritize for immigration


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enforcement action.” See September Guidance at 2, PAGEID 99. Indeed, citing two Supreme

Court decisions of the last quarter century, the Secretary noted that it “is well established in the

law that federal government officials have broad discretion to decide who should be subject to

arrest, detainers, removal proceedings, and the execution of removal orders.” Id. (referring to

Arizona and AADC). With this backdrop, the Secretary concluded that DHS should prioritize those

who pose the greatest risk to national security, border security, and public safety. See September

Guidance at 3-4, PAGEID 100-101; id. at 2, PAGEID 99 (recognizing that the majority of

noncitizens who could be subject to removal have been contributing members of our communities

for years); see also Arizona, 567 U.S. at 396 (“Discretion in the enforcement of immigration law

embraces immediate human concerns.”).

       But in articulating whom to prioritize, the Secretary still ensured that those categories were

flexible enough for officers to take the totality of circumstances into consideration in undertaking

enforcement actions. In particular, the Secretary’s September Guidance instructs line officers to

make an “assessment of the individual and the totality of the facts and circumstances,” based on

aggravating and mitigating factors, in determining whether an individual “poses a current threat to

public safety.” September Guidance at 3, PAGEID 100. Thus, in this context, officers must

“exercise their judgment accordingly,” with the understanding that “[t]he decision how to exercise

prosecutorial discretion can be complicated and requires investigative work.” Id. at 4, PAGEID

101. Further, while “the guidance leaves the exercise of prosecutorial discretion to the judgment

of [DHS] personnel,” the September Guidance also seeks to “ensure the quality and integrity of

[DHS’s] civil immigration enforcement actions, and to achieve consistency in the application of

our judgments,” by relying on training, a review process, data collection, and individual case

review. Id. at 5-6, PAGEID 102-103. This comprehensive, and yet flexible, system, is a reasonable

determination of how best to exercise long-recognized enforcement discretion in the immigration

context.

       The Secretary’s memorandum on its face is thus sufficient to survive arbitrary and

capricious review. See, e.g., Chaney, 470 U.S. at 842 (Marshall, J., concurring) (“a decision not to

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enforce that is based on valid resource-allocation decisions will generally not be arbitrary, [and]

capricious”) (quoting 5 U.S.C. § 706(2)(A)); AADC, 525 U.S. at 490-91 (discussing factors that

may go into enforcement decisions). Nevertheless, in a lengthy memorandum summarizing the

considerations informing the Secretary’s memorandum, DHS further explained the basis for the

September Guidance. See Consideration Memo (explaining the various inputs from internal and

external groups, the role of prosecutorial and enforcement discretion in the immigration context,

the current Administration’s approach, and key considerations underscoring the September

Guidance—including public safety, deconfliction, impact on states, resources, statutory mandates,

and alternative approaches). DHS thus “examine[d] the relevant data and articulate[d] a

satisfactory explanation for its action,” including a “rational connection between the facts found

and the choice made.” See Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins.

Co., 463 U.S. 29, 43 (1983) (quoting Burlington Truck Lines v. United States, 371 U.S. 156, 168

(1962)).

       The arguments the States make in support of their arbitrary and capricious claim are refuted

by the administrative record, which reflects DHS’s comprehensive review of all the relevant

factors. See Camp v. Pitts, 411 U.S. 138, 142 (1973) (“[T]he focal point for judicial review should

be the administrative record already in existence, not some new record made initially in the

reviewing court.”); Fla. Power & Light Co. v. Lorion, 470 U.S. 729, 743 (1985). First, the States

claim that Defendants did not consider “the risks of recidivism among criminal aliens who are not

detained.” See PI Mem. at 16, PAGEID 79. But in its memorandum explaining the significant

consideration underlying the September Guidance, DHS noted that the Guidance does address this

concern “by calling for a context-specific consideration of aggravating and mitigating factors, the

seriousness of an individual’s criminal record, the length of time since the offense, and evidence

of rehabilitation,” and that “[t]hese factors are to be weighed in each case to assess whether a

noncitizen poses a current threat to public safety, including through a meaningful risk of

recidivism.” See Considerations Memo at 12, PAGEID 454; see also id. at 13, PAGEID 455

(describing factors related to recidivism). DHS also assessed academic research indicating that

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undocumented immigrants were generally less likely to recidivate than others, and noted that

likelihood of recidivism alone is a poor indicator of risk to public safety, since some crimes, even

if repeated, are less of a danger than others. Id. at 13, PAGEID 455; see also Michael T. Light, et

al., Comparing crime rates between undocumented immigrants, legal immigrants, and native-born

US citizens in Texas, Proceedings of the Nat’l Acad. of Sciences of the USA (Dec. 12, 2020),

PAGEID 578 (AR DHSP_00002494).

       Next, the States argue that DHS did not address how non-detention will inhibit removal

later. See PI Mem. at 16-17, PAGEID 79-80. Again, the Considerations Memo addressed this

issue: “This criticism is based on the misconception that if the Department did not prioritize its

enforcement efforts—or if it prioritized enforcement in some different way—a significantly

greater number of people could be arrested, detained, moved through removal proceedings, and

processed for removal.” See Considerations Memo at 17, PAGEID 459. Rather, the agency

explained, “[r]esource limitations make that an impossibility, as has been the case since the

Department was formed (and before that as well),” and described how “such an approach ignores

the reality that the Department’s overall safety and security mission is not best served by simply

pursuing the greatest overall number of enforcement actions but is rather best advanced by

directing resources to prioritize enforcement against those noncitizens who most threaten the

safety and security of the Nation.” Id. DHS considered its experience operating under previous

priority regimes, including under the policies during the previous administration, which largely

did away with specific priorities. See Markowitz Historical Guidance Analysis Mem. (AR

DHSP_00002294) at 8-9. As DHS observed, the less focused efforts of the priority policy in effect

from 2017-2020 resulted in a large increase in total monthly interior removals, but a reduction in

“interior removals for individuals with the most serious convictions.” Id. at 9 (AR

DHSP_00002302).

       The States’ remaining critiques similarly fail in light of the administrative record. The

States suggest that DHS did not consider the impact of the September Guidance on the States. See

PI Mem. at 17, PAGEID 80. But the Considerations Memo discussed the matter at length and

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devoted an entire subsection to the subject: “Impact on States,” see Considerations Memo at 14-

17, PAGEID 456-459. DHS considered the views of numerous members of congress representing

numerous states,18 views of various state officials,19 and the concerns raised by States in litigation

over the Interim Guidance.20 Likewise, the States argue that Defendants did not justify why

aggravated felons are no longer considered presumptively public safety threats, see PI Mem. at 18,

PAGEID 81. But, in the Considerations Memo, DHS explained that “[i]n the Department’s

engagements with internal and external stakeholders, including with the ICE workforce, concerns

were raised about whether the focus on individuals convicted of ‘aggravated felonies’ was both

over- and under-inclusive.” See Considerations Memo at 12, PAGEID 454 (finding that “[t]he

aggravated felony definition can be challenging to administer in many instances” and it “is an

imperfect proxy for severity of offense”). Finally, the States argue that there is no rational reason

for the policy that the agency did develop. See PI Mem. at 18-20, PAGEID 81-83. As explained

above, however, the Secretary determined that DHS does not “have the resources to apprehend

and seek the removal of every one of [the more than 11 million undocumented or otherwise

removable noncitizens in the United States],” and, therefore, emphasized the “need to exercise our

discretion and determine whom to prioritize for immigration enforcement action.” See September



18
   E.g., Feb. 17, 2021 Ltr. from U.S. Reps. James Comer and Jim Jordan, ECF No. 27-17, PAGEID 542
(AR DHSP_00002243); Mar. 11, 2021 Ltr. from U.S. Rep Dan Bishop, ECF No. 27-18, PAGEID 546
(AR DHSP_00002256); July 6, 2021 Ltr. From U.S. Rep. Andy Biggs, ECF No. 27-20, PAGEID 551
(AR DHSP_00002261); Apr. 26, 2021 Ltr. from U.S. Rep. Pat Fallon, ECF No. 27-22, PAGEID 559 (AR
DHSP_00002275); Mar. 3, 2021 Ltr. from U.S. Rep Mike Thompson, ECF No. 27-23, PAGEID 561 (AR
DHSP_00002277); Feb. 19, 2021 Ltr. From U.S. Sen. Rick Scott, PAGEID 563 (AR DHSP_00002279);
May 14, 2021 Ltr. From U.S. Rep. Alexandria Ocasio-Cortez, PAGEID 569 (AR DHSP_00002290); Apr.
15, 2021 Ltr. from U.S. Sen. Cory A. Booker, PAGEID 573 (AR DHSP_00002321).
19
   E.g., May 28, 2021 Ltr. from Ill. Att’y Gen. Kwame Raoul, PAGEID 548 (AR DHSP_00002258);
Aug. 26, 2021 Ltr. from Fla. Gov. Ron DeSantis, PAGEID 554 (AR DHSP_00002270); Feb. 3, 2021 Ltr.
from Collier Cnty., Fla. Sheriff Kevin J. Rambosk, PAGEID 565 (AR DHSP_00002281).
20
   AR Index, ECF No. 27-1 at PAGEID 439-441, item nos. 64, 65, 67, 69, 71, 72, 75, 77, 79, 82, 85, 88,
89 (Arizona and Montana’s litigation documents concerning Interim Guidance); AR Index, ECF No. 27-1
at PAGEID 441-442, item nos. 96, 97, 99, 100, 103, 105 (Florida’s litigation documents concerning
Interim Guidance); AR Index, ECF No. 27-1 at PAGEID 442, item nos. 106, 107, 109, 110, 113, 118
(Texas’s litigation documents concerning Interim Guidance).


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Guidance at 2, PAGEID 99. With this backdrop in mind, the Secretary devised guidance that takes

into account national security, public safety, and border security, while still ensuring that the

officers on the ground consider the totality of the circumstances when taking enforcement actions.

       The States’ Complaint also raises a separate claim that the September Guidance is

“pretextual” and “simply an attempt to quickly paper over the sparse administrative record of the

January 20 Memorandum and Interim Guidance without changing the substance of those policies

as it relates to final orders of removal.” Compl. ¶ 93, PAGEID 20. The States present no evidence

for this claim, and it is refuted by the extensive administrative record, formed after the Secretary

himself, as well as other senior DHS officials, toured the country to receive input from numerous

stakeholders, and assessed data from months of operating under the Interim Guidance.21 Moreover,

this claim ignores the numerous and substantial changes between the Interim Guidance and the

September Guidance—including the elimination of preapproval requirements and the adoption of

a more flexible approach to the priority framework.

       It may be that the States disagree with the way the Secretary balanced these issues. But it

is not the States’ (or the judiciary’s) role to determine enforcement policy for the Department of

Homeland Security. See Prometheus Radio Project, 141 S. Ct. at 1158. At bottom, the Secretary

expressly considered each factor that the States contend he should have, and concluded that the

policy he adopted was appropriate in light of those factors.
       3. DHS’s internal guidance on enforcement prioritization is exempt from notice and
          comment.
       The September Guidance is likewise exempt from the APA’s notice-and-comment

requirement. This requirement does not apply to “general statements of policy,” 5 U.S.C.

§ 553(b)(A), which “advise the public prospectively of the manner in which the agency proposes

to exercise a discretionary power,” Lincoln, 508 U.S. at 197 (quoting Chrysler Corp. v. Brown,

441 U.S. 281, 302 n.31 (1979)). By contrast, rules that must generally be adopted through notice


21
 See, e.g., AART Summary Memo, PAGEID 537 (AR DHSP_00000108); OPLA PD Conclusion Mem.,
PAGEID 541 (AR DHSP_00002240).

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and comment are those that have the force and effect of law and create legally enforceable rights

or obligations. See Perez v. Mortg. Bankers Ass’n, 575 U.S. 92, 96 (2015). Here, the September

Guidance is quintessentially a policy statement: It announces how DHS components will

determine whether to pursue (or forbear from) enforcement—a decision “generally committed to

an agency’s absolute discretion.” Chaney, 470 U.S. at 831. But it does not alter the rights or

obligations of any person, nor does it create a binding norm on any individual enforcement

decision.

       Lincoln itself underscores that agency guidance on matters of agency discretion is exempt

from notice-and-comment requirements. In that case, the Supreme Court held a pronouncement of

the exercise of discretion is a general statement of policy. In particular, the Supreme Court

emphasized that “[w]hatever else may be considered a ‘general statemen[t] of policy,’ the term

surely includes an announcement like the one before us, that an agency will discontinue a

discretionary allocation of unrestricted funds from a lump-sum appropriation.” See Lincoln, 508

U.S. at 196-97. The sense of this result is evident when applied to the policy at issue here. There

is a “deep-rooted” tradition of enforcement discretion, Castle Rock, 545 U.S. at 761, especially

when it comes to decisions in the immigration enforcement context, see AADC, 525 U.S. at 483;

Arizona, 567 U.S. at 396; Jama, 543 U.S. at 348. The September Guidance concerns decisions

related to the apprehension and removal of noncitizens, and the initiation of removal proceedings

in the first instance—the core of prosecutorial discretion. See September Guidance at 1, PAGEID

98 (“This memorandum provides guidance for the apprehension and removal of noncitizens.”).

Guidance on how to exercise that discretion is not subject to notice-and-comment requirements.

       Thus, the September Guidance merely advises the public how DHS will exercise its

discretion. It thus is properly viewed as a “general statement of policy” not subject to notice and

comment: “A policy statement is a pronouncement that simply advises the public what the

agency’s prospective position on an issue is likely to be.” See Dyer v. Sec’y of Health & Hum.

Servs., 889 F.2d 682, 685 (6th Cir. 1989); see also Wells v. Astrue, No. 09-32-GWU, 2009 WL

3400911, at *4 (E.D. Ky. Oct. 20, 2009). A statement is “likely to be considered binding”—and

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therefore subject to notice-and-comment requirements—“if it narrowly circumscribes

administrative discretion in all future cases, and if it finally and conclusively determines the issues

to which it relates.” Dyer, 889 F.2d at 685. But under the September Guidance, agency officials

are instructed to consider individual facts and consider the totality of the circumstances of each

particular case. Contra Pls.’ Mem. 23-24, PAGEID 86-87 (contending that the September

Guidance creates a binding presumption against enforcement actions notwithstanding that the

guidance expressly states the opposite). In fact, the Secretary has made that individualized

assessment a central underpinning of the entire guidance. See September Guidance at 3-4,

PAGEID 100-101 (instructing line officers to make an “assessment of the individual and the

totality of the facts and circumstances,” in consideration of aggravating and mitigating factors, and

that officers must “exercise their judgment accordingly”). Accordingly, the September Guidance

is a general statement of policy exempt from notice-and-comment requirements.

        Similarly, even if it were binding in some fashion, the September Guidance would be only

a procedural rule, still exempt from notice and comment.22 Procedural rules are “rules of agency

organization, procedure, or practice.” 5 U.S.C. § 553(b). They are “primarily directed toward

improving the efficient and effective operations of an agency, not toward a determination of the

rights [or] interests of affected parties.” Batterton, 648 F.2d at 702 n.34, accord Mendoza v. Perez,

754 F.3d 1002, 1023 (D.C. Cir. 2014). Procedural rules “do not themselves alter the rights or

interests of parties, although [they] may alter the manner in which the parties present themselves

or their viewpoints to the agency.” Batterton, 648 F.2d at 707; see also Wooten v. Hogsten, No.

6:11-CV-00190-KSF, 2012 WL 1598080, at *5 (E.D. Ky. May 7, 2012) (“Interpretive, or

‘procedural,’ rules do not themselves shift the rights or interests of the parties, although they may

change the way in which parties present themselves to the agency.”). By its very nature, general



22
  The States argue that the September Guidance should not be considered an interpretive rule. See PI Mem.
at 21-23, PAGEID 84-86. The Court need not address that issue because, to the extent the matter is even
reviewable, the September Guidance is exempt from notice and comment as a general statement of policy
or, alternatively, as a procedural rule.

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guidance for the exercise of prosecutorial discretion does not affect anyone’s rights and

obligations. And the September Guidance explicitly states it does not affect anyone’s rights. See

September Guidance at 7, PAGEID 104 (“This guidance is not intended to, does not, and may not

be relied upon to create any right or benefit, substantive or procedural, enforceable at law by any

party in any administrative, civil, or criminal matter.”). Indeed, under the Guidance any individual

enforcement decision must be evaluated based on the totality of the circumstances. Rather than

establish any binding rules, the Guidance simply establishes internal considerations for how the

agency is to exercise its discretion, and procedures for internal review.

       Accordingly, the States’ notice-and-comment claim fails on the merits.
       4. The States fail to state a viable claim under the Take Care Clause.
       The Court should dismiss the States’ claim that the September Guidance violates the Take

Care Clause, U.S. Const. art. II, § 3, because it violates §§ 1226(c) and 1231(a)(1)(A). See Compl.

¶¶ 95-99, PAGEID 21. The States raise this claim as an APA claim, see 5 U.S.C. § 706(2)(B), but

it fails for all the same reasons given above: the States lack standing and they cannot surpass

numerous APA thresholds. Most fundamentally, enforcement discretion is a core Executive power.

See Chaney, 470 U.S. at 832 (recognizing “that an agency’s refusal to institute proceedings shares

to some extent the characteristics of the decision of a prosecutor in the Executive Branch not to

indict—a decision which has long been regarded as the special province of the Executive Branch,

inasmuch as it is the Executive who is charged by the Constitution to ‘take Care that the Laws be

faithfully executed’” (quoting U.S. Const. art. II, § 3)).

       Should the Court reach the merits of this contention, however, it should dismiss it for

failure to state a claim. The Take Care Clause cannot a furnish basis for affirmative relief in an

Article III court. For the Judicial Branch to superintend how the President performs his executive

functions would express a “lack of the respect due” to the Nation’s highest elected official. Baker

v. Carr, 369 U.S. 186, 217 (1962). Indeed, the Supreme Court has recognized that “the duty of the

President in the exercise of the power to see that the laws are faithfully executed” “is purely

executive and political,” and not subject to judicial direction. Mississippi, 71 U.S. at 499. The

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States’ claim collapses into their claim that the Guidance exceeds statutory authority, and thus is

flatly negated by the Supreme Court’s admonishment in Dalton v. Specter that “claims simply

alleging that the President has exceeded his statutory authority are not ‘constitutional’ claims.”

511 U.S. at 473. And as demonstrated above, the Secretary’s guidance—far from being

incompatible with the statute—is firmly supported by foundational principles concerning the

exercise of enforcement discretion, as long recognized by the Supreme Court. See, e.g., Arizona,

567 U.S. at 396 (“A principal feature of the removal system is the broad discretion exercised by

immigration officials. . . . Federal officials, as an initial matter, must decide whether it makes sense

to pursue removal at all.”).
II.   The Harm to the Executive from an Injunction Restraining Core Article II Authority
      Would Outweigh Any Harm to the States from the Guidance and Such an Injunction
      Would Undermine the Public Interest.
       For the reasons given above, the Court should deny the States’ motion for a preliminary

injunction and should dismiss the Complaint. But even if the Court were to conclude otherwise, it

should still deny an injunction, and should remand without vacatur. Put simply, the States have

not and cannot establish that they will suffer an injury that outweighs the harm that their requested

relief inflicts on the Defendants and the public interest. As discussed above, the States cannot show

any injury, much less irreparable harm. See supra section I.A. Their requested injunction, however,

would impose a significant burden on the United States, and so the Court should deny the States’

motion. As a panel of the Fifth Circuit recently noted: “The injury to the executive’s daily exercise

of this historic discretion is irreparable in the basic sense of the word; there is no way to recover

the time when its exercise of discretion is being enjoined during the pendency of the appeal.” See

Texas, 14 F.4th at 341.

       Such an injury also extends to the public. The September Guidance allows DHS to focus

on individuals who pose the greatest threat to the public. With the Interim Guidance, the agency

successfully focused its efforts according to the priorities, nearly doubling enforcement actions

against aggravated felons, while also shifting resources to the border. See, e.g., AART Data

Memo, PAGEID 537 (“Between February 18 and August 31, 2021 ICE arrested 6,046 individuals

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with aggravated felony convictions compared to just 3,575 in the same period in 2020.”); see also

Berg Decl. ¶ 18, PAGEID 601 (identifying approximately 300 ICE officers “detailed to the

Southwest Border to support CBP operations”). Enjoining or vacating the September Guidance

will prevent from Executive from continuing its sensible efforts to focus on the most pressing

dangers.

       Likewise, limiting DHS’s ability to prioritize removals poses a number of practical

problems given its resource constraints. DHS lacks the resources, including appropriated funds

and bedspace, to both detain all noncitizens the States contend DHS is obligated to detain, and also

protect the public by detaining and removing those individuals DHS identifies as presenting threats

to public safety. See Berg Decl. ¶¶ 9-19, PAGEID 597-601; Decker Decl. ¶¶ 7-8, ECF No. 27-30,

PAGEID 589-590; Declaration of Monica Burke ¶¶ 6-11, ECF No. 27-32, PAGEID 607-08 (AR

DHSP_00006075- AR DHSP_00006076). Further, “[a]bsent clear priorities, [DHS] immigration

officers may be left with only very general guidance—or no guidance at all—on the exercise of

their discretion.” Decker Decl. ¶ 12, PAGEID 592; see also Berg Decl. ¶ 20, PAGEID 602.

Likewise, “[a]ny potential policy or operational confusion due to an injunction could additionally

harm ICE’s relationship with state and local stakeholders.” See, e.g., Decker Decl. ¶ 13, PAGEID

592. In particular, it would cause confusion for the agency to ping-pong between different

guidance. Here, the agency has already spent months training its workforce on the September

Guidance, and, indeed, by the time the Court hears argument on these motions, DHS will have

been operating under the September Guidance for several weeks. See September Guidance at 6,

PAGEID 103. Finally, such an injunction might conflict with Defendants’ other obligations,

including those imposed under court order. See, e.g., Fraihat v. U.S. Immigr. & Customs Enf’t,

445 F. Supp. 3d 709 (C.D. Cal. 2020) (imposing limits on detention capacity), rev’d, 16 F.4th 613

(9th Cir. 2021) (mandate pending as of December 27, 2021). Given these practical realities, an

injunction would not be appropriate even if the Court considered the States likely to succeed on

the merits. Rather, “remand without vacatur” would be a more appropriate remedy at final

judgment, given that vacatur or an injunction would have “disruptive consequences.” Ctr. for

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Biological Diversity v. U.S. Forest Serv., No. 2:17-CV-372, 2021 WL 855938, at *1-4 (S.D. Ohio

Mar. 8, 2021); see also KindHearts for Charitable Humanitarian Dev., Inc. v. Geithner, 710 F.

Supp. 2d 637, 658 (N.D. Ohio 2010) (noting that “notwithstanding the APA’s dictate that” a court

should “set aside unconstitutional agency action, the proper remedy,” certain circumstances may

be to “remand to [the agency], without vacatur”).

       Whether to grant an injunction, even if a movant meets the burden to show both irreparable

harm and a likelihood of success, is fundamentally a matter of equity. Defendants maintain that

the States have demonstrated neither irreparable harm nor a likelihood of success on the merits.

But regardless, the States’ dubious claims of harm are monetary only. See PI Mem. at 28-30,

PAGEID 91-93. Any harm to the States from the September Guidance pales in the face of the

certain harm an injunction would impose on the Executive and the likely harm to the public and is

inadequate to warrant the injunctive relief the States seek.

       Ultimately, although the States disagree with DHS’s prioritization of certain public safety

threats and its utilization of its limited resources, the federal government—not any individual

State—is charged with enforcing immigration laws. An injunction that interferes with that

Constitutional and Congressional arrangement is unwarranted. At a minimum, if the Court is

inclined to provide some form of equitable relief, it should stay that relief for a period of thirty

days to allow the government to secure relief from the Court of Appeals or Supreme Court.

Otherwise, the Court’s order would risk a seesaw effect, where the government has to oscillate

between different guidance documents based on competing judicial decrees.
III. Any Relief Ordered Should Be Narrow.
       “[I]njunctive relief should be no more burdensome to the defendant than necessary to

provide complete relief to the plaintiffs.” Washington v. Reno, 35 F.3d 1093, 1103 (6th Cir. 1994);

see Califano v. Yamasaki, 442 U.S. 682, 702 (1979) (“the scope of injunctive relief is dictated by

the extent of the violation established’). Accordingly, even if this Court were to grant the States a

preliminary injunction, it should limit the injunction. It should refuse the States’ request to issue a



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nationwide injunction and, instead, it should limit any injunction to the Plaintiff States that have

standing.

       Here, especially in light of denials of preliminary injunctions in other jurisdictions on the

Interim Guidance and the pending challenges to the September Guidance in other district courts,

this Court should limit any injunction to Ohio and, at most, to Arizona, Montana, and Ohio. As a

general matter, nationwide relief that would affect those who are not parties to this case that have

established standing would exceed this Court’s authority under Article III and violate longstanding

equitable doctrine. “Article III of the Constitution limits the exercise of the judicial power to

‘Cases’ and ‘Controversies.’” Town of Chester v. Laroe Estates, Inc., 137 S. Ct. 1645, 1650 (2017).

The Sixth Circuit recently provided guidance to a district court on the proper scope of injunctive

relief in a challenge to a nationwide federal policy. Gun Owners of Am., Inc. v. Garland, 992 F.3d

446, 474 (6th Cir. 2021), vacated on other grounds ---F.4th---, 2021 WL 5755300, (6th Cir. Dec.

3, 2021).23 Because the federal defendants in that case had prevailed in other courts outside of the
Sixth Circuit, the panel directed that the injunction “may not exceed the bounds of the four states

within the Sixth Circuit’s jurisdiction and, of course, encompasses the parties themselves.” Id. at

474. A nationwide injunction was improper in that case because the Sixth Circuit did not want to

“create an absurd situation in which the ATF must prevail in every single case brought against the

Final Rule in order for its interpretation to prevail.” Id. Although some courts have granted

nationwide injunctions in the immigration context on the theory that immigration policy must be

uniform, see, e.g., Texas v. United States, 809 F.3d 134, 187 (5th Cir. 2015), as revised (Nov. 25,

2015), aff’d by an equally divided court, 136 S. Ct. 2271 (2016), that argument carries no weight

here, where the effect of an injunction would be to eliminate national uniformity in favor of ad hoc

prioritization schemes set at the local level.




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  The panel opinion was recently vacated on other grounds. The panel opinion still has substantial
persuasive value on the appropriate scope of injunctive relief.

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       To grant a nationwide injunction here would fly in the face of the Sixth Circuit’s analysis

and would make Justice Gorsuch’s warning a reality: “If a single successful challenge is enough

to stay the challenged rule across the country, the government’s hope of implementing any new

policy could face the long odds of a straight sweep, parlaying a 94-to-0 win in the district courts

into a 12-to-0 victory in the courts of appeal.” Dep’t of Homeland Sec. v. New York, 140 S. Ct.

599, 600-01 (2020) (Gorsuch, J. concurring), denying modification, 140 S. Ct. 2709 (2020). In the

end, Article III and equitable principles, including respect for sister courts also evaluating

challenges to this policy, dictate that any injunction should be no broader than necessary to address

the purported harm that would occur absent a preliminary injunction. If the Court decides to issue

an injunction, it should join other district courts in the Sixth Circuit by limiting its relief to the

Plaintiff states. See Kentucky v. Yellen, ---F. Supp. 3d---, 2021 WL 4394249, at *9 (E.D. Ky. Sept.

24, 2021). And if it determines that only some State Plaintiffs have standing, the injunction should

be so limited.

                                          CONCLUSION

       For the reasons stated herein, the States’ motion for a preliminary injunction should be

denied. The Court should dismiss the Complaint or, in the alternative, grant judgment to

Defendants. If the Court does issue an injunction, it should stay its order for 30 days to permit

Defendants to seek appellate relief.




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Dated: December 27, 2021             Respectfully submitted,

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                               CERTIFICATE OF SERVICE
      I certify that a true and accurate copy of the foregoing document was filed electronically

(via CM/ECF) on December 27, 2021.


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